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 7
 8
 9                            THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                            SAN FRANCISCO/OAKLAND DIVISION
11
12   KATHERINE SCOTT, CAROLYN                   Case No. 19-cv-4063
     JEWEL, and GEORGE PONTIS,
13   individually and on behalf of all others   CLASS ACTION COMPLAINT
     similarly situated,
14
                     Plaintiffs,                DEMAND FOR JURY TRIAL
15
16           v.

17   AT&T INC.; AT&T SERVICES, INC.;
     AT&T MOBILITY, LLC; TECHNOCOM
18   CORP.; and ZUMIGO, INC.;

19                   Defendants.
20
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 1   NATURE OF THE ACTION
 2           1.      This class action arises from AT&T’s 1 knowing, systematic, and unauthorized
 3   sale of its wireless phone customers’ sensitive location data. Despite vowing to its customers
 4   that it does not “sell [their] Personal Information to anyone for any purpose,” 2 AT&T has been
 5   selling its customers’ real-time location data to credit agencies, bail bondsmen, and countless
 6   other third parties without the required customer consent and without any legal authority.
 7   AT&T’s practice is an egregious and dangerous breach of Plaintiffs’ and all AT&T customers’
 8   privacy, as well as a violation of state and federal law.
 9           2.      As a telecommunications carrier, AT&T is entrusted with real-time location data
10   so that it can help 911 operators find its customers in the event of an emergency. Underlying this
11   911 data is a powerful, highly precise technology that can locate callers within a building, to the
12   floor or even room level. This real-time location data is highly sensitive and can reveal where
13   any AT&T customer is located—often within just a few meters—in seconds.
14           3.      This precise, real-time location data is intended solely for public safety uses.
15   Plaintiffs and other AT&T customers have no ability to opt out of its collection. This data was
16   never intended for broad commercial purposes. To the contrary, federal law requires AT&T to
17   protect and safeguard its customers’ sensitive data, and mandates that AT&T not allow third
18   parties to use or access customers’ geolocation information except in rare public safety scenarios
19   or with the customer’s affirmative, express consent.
20          4.       AT&T has knowingly breached its duties to protect Plaintiffs’ sensitive location
21   data in order to profit from it. Despite the recognized sensitivity of location data and AT&T’s
22   obligations and promises to safeguard it, AT&T has been allowing unauthorized access to its
23   customers’ precise, real-time location data to thousands of third parties for years. AT&T works
24   with location data aggregator companies which specialize in the commercial sale of location data
25   for widespread purposes. AT&T uses these aggregators, including Aggregator Defendants
26
27   1
       Defined herein to include defendants AT&T Services, Inc., AT&T Mobility LLC, and AT&T
     Inc.
28   2
       AT&T, “Privacy Policy,” attached hereto as Ex. A.
                                             –1–
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 1   LocationSmart and Zumigo, to manage the sale of its data to thousands of entities—including bail
 2   bondsmen, bounty hunters, and prison officials—who routinely access and use the data without
 3   customer knowledge or consent, and without any emergency 911 basis.
 4           5.     Defendants’ practices allow Plaintiffs and other AT&T customers to be tracked
 5   and targeted by unknown third parties without their knowledge. AT&T leverages the technology
 6   embedded within a customer’s phone and its own network infrastructure to locate its customers
 7   without any indication that AT&T is tracking them in order to sell their precise location to third
 8   parties for non-911 purposes. Indeed, AT&T’s practices were only publicly exposed after an FBI
 9   investigation revealed that a sheriff in Missouri had used carrier location data to stalk a Circuit
10   Court Judge and fellow law enforcement officers without their knowledge or consent and without
11   any legal authority to do so. This highly sensitive data has also been used to harass AT&T
12   customers and bypass the rights afforded by the Fourth Amendment.
13           6.     Defendants’ sale of their customers’ real-time location data is a violation of
14   Plaintiffs’ reasonable expectations of privacy. Plaintiffs’ expectation is reflected in widely held
15   social norms and enshrined in state and federal law, including in the federal Communications
16   Act, which requires AT&T to protect customers’ location data precisely because it is in a
17   privileged position to know this information as a byproduct of operating a cellular phone service.
18   AT&T’s repeated promises to customers that it would safeguard the data from unauthorized
19   access and would not sell it only heightens the outrageousness of AT&T’s conduct.
20           7.     As Federal Communications Commission Commissioner Geoffrey Starks
21   explained in February 2019, “It is absolutely chilling to think that a stranger can buy access to
22   exactly where we are at any given moment by tapping into the data on our phones without our
23   consent. And, now I am hearing allegations that consumers’ GPS data—data so accurate that it
24   can pinpoint your location the floor of a building you are in—is also available for sale. It isn’t
25   difficult to imagine intrusive or even downright dangerous uses of this data.” 3
26
27
     3
      See Email from Michael Scurato (FCC) to Joseph Cox (Motherboard) (Feb. 4, 2019), attached
28
     hereto as Ex. B.
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 1          8.      Plaintiffs Katherine Scott, Carolyn Jewel, and George Pontis are California
 2   residents and AT&T wireless customers. Plaintiffs were unaware of and never consented to
 3   Defendants’ sale of their real-time location data. To the contrary, Plaintiffs had the reasonable
 4   expectation that their sensitive, real-time location data would be protected and safeguarded by
 5   AT&T, pursuant to federal and state law and AT&T’s own promises.
 6          9.      Thus, entrusted with its customers’ sensitive real-time location data for 911
 7   purposes, and having promised to safeguard that data, AT&T decided instead to profit from that
 8   information. It quietly sold its customers’ real-time location data to third-party aggregators
 9   knowing that once sold, that sensitive location data would later enter the marketplace where it
10   could be used for nefarious purposes. AT&T’s conduct is reprehensible and must be stopped.
11   AT&T must be held accountable.
12    I.    THE PARTIES
13          A.      The Plaintiffs
14          10.     Plaintiff Katherine Scott is an active, paying AT&T wireless customer. She is,
15   and at all relevant times was, a resident of Santa Cruz, California. Plaintiff Scott joined AT&T
16   approximately nine years ago while residing in California. She pays AT&T every month for her
17   personal wireless cell phone account, which includes a fee for a limited amount of mobile data
18   per month. Plaintiff Scott did not—and could not—know that AT&T would sell access to her
19   real-time location data to third parties, and she at all times expected AT&T to abide by federal
20   and state laws concerning its privacy practices. Plaintiff Scott relied on AT&T’s representations
21   about its privacy and security policies, and she would not have signed up for AT&T’s wireless
22   service, or would have paid less for the service, had she known about the acts and omissions
23   described herein.
24          11.     Plaintiff Carolyn Jewel is an active, paying AT&T wireless customer. She is, and
25   at all relevant times was, a resident of Petaluma, California. Plaintiff Jewel is a long-time AT&T
26   wireless subscriber. She originally signed up for wireless service with Cellular One in 1999
27   while residing in California. By May 2006, she was billed by and paid her wireless bills to
28   Cingular, following changes in corporate ownership. By April 2007, she was billed by and paid
                                           –3–
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 1   her wireless bills to AT&T. Plaintiff Jewel does not recall ever signing any contract with AT&T
 2   following the change in corporate ownership, but has reviewed AT&T’s privacy policy, including
 3   AT&T’s representations about its data privacy and data sale practices. She pays AT&T every
 4   month for her personal wireless cell phone account. Plaintiff Jewel did not—and could not—
 5   know that AT&T would sell access to her real-time location data to third parties, and she at all
 6   times expected AT&T to abide by federal and state laws concerning its privacy practices.
 7   Plaintiff Jewel relied on AT&T’s representations about its privacy and security policies, and she
 8   would not have signed up for AT&T’s wireless service, or would have paid less for the service,
 9   had she known about the acts and omissions described herein.
10          12.     Plaintiff George Pontis is an active, paying AT&T wireless customer. He is, and
11   at all relevant times was, a resident of San Mateo County, California. Plaintiff Pontis is a long-
12   time AT&T wireless subscriber. He originally signed up for wireless service with Cingular
13   Wireless while residing in California. Cingular Wireless later became a part of AT&T. Plaintiff
14   Pontis does not recall ever signing any contract with AT&T following the change in corporate
15   ownership, but relied on AT&T’s representations about its data privacy and data sale practices in
16   maintaining his AT&T account. He pays AT&T every month for his personal wireless cell phone
17   account, which includes a fee for a limited amount of mobile data per month. Plaintiff Pontis did
18   not—and could not—know that AT&T would sell access to his real-time location data to third
19   parties, and he at all times expected AT&T to abide by federal and state laws concerning its
20   privacy practices. He would not have signed up for AT&T’s wireless service, or would have
21   changed the way he used his phone or paid less for the service, had he known about the acts and
22   omissions described herein.
23          B.      The AT&T Defendants
24          13.     Defendant AT&T Inc. is a Delaware corporation with its principal office or place
25   of business in Dallas, Texas. AT&T Inc. transacts or has transacted business in this District and
26   throughout the United States. It is the second largest wireless carrier in the United States, with
27
28
                                           –4–
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 1   more than 153 million subscribers, earning $160 billion in total operating revenues in 2017 and
 2   $170 billion in 2018. As of December 2017, AT&T had 1,470 retail locations in California. 4
 3             14.   Defendant AT&T Inc. provides mobile wireless telecommunication services and
 4   sells mobile wireless handsets to California consumers, including Plaintiffs, through AT&T Inc.
 5   and its wholly owned subsidiaries, including Defendants AT&T Services, Inc. and AT&T
 6   Mobility LLC.
 7             15.   Defendant AT&T Services, Inc. is a Delaware corporation with its principal office
 8   or place of business in Dallas, Texas. AT&T Services, Inc. transacts or has transacted business in
 9   this District and throughout the United States.
10             16.   AT&T Mobility, LLC is a Delaware limited liability corporation with its principal
11   office or place of business in Brookhaven, Georgia. AT&T Mobility provides wireless service to
12   subscribers in the United States, Puerto Rico, and the U.S. Virgin Islands. AT&T Mobility is a
13   “common carrier” governed by the Federal Communications Act (“FCA”), 47 U.S.C. § 151 et
14   seq. AT&T Mobility is regulated by the Federal Communications Commission (“FCC”) for its
15   acts and practices, including those occurring in this District. AT&T Mobility LLC transacts or
16   has transacted business in this District and throughout the United States.
17             17.   AT&T’s Mobility business unit “provides nationwide wireless services to
18   consumers and wholesale and resale wireless subscribers located in the United States or U.S.
19   territories” and the Mobility business unit accounted for $71 billion in revenue in 2017 and
20   2018. 5
21             18.   AT&T’s 2018 Annual Report acknowledged that its “profits and cash flow are
22   largely driven by [its] Mobility business” and “nearly half of [the] company’s EBITDA (earnings
23   before interest, taxes, depreciation and amortization) comes from Mobility.” 6
24             C.    The Aggregator Defendants
25
26   4
       “About Us,” AT&T, available at https://engage.att.com/california/about-us/. All URLs in this
     complaint were last accessed on July 9, 2019, unless otherwise noted.
27   5
       Id.
     6
       “2018 Annual Report,” AT&T, available at https://investors.att.com/~/media/Files/A/ATT-
28
     IR/financial-reports/annual-reports/2018/complete-2018-annual-report.pdf.
                                              –5–
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 1             19.   Defendants TechnoCom Corporation d/b/a LocationSmart (hereafter,
 2   “LocationSmart”) and Zumigo Inc. (hereafter, “Zumigo,” and together with LocationSmart,
 3   “Aggregator Defendants”) are location data aggregators, companies that specialize in the
 4   aggregation and sale of location data for myriad commercial purposes. AT&T used
 5   LocationSmart and Zumigo to manage the buying and selling of its customers’ real-time location
 6   data. 7
 7             20.   LocationSmart is a division of Defendant TechnoCom Corporation (hereafter,
 8   “LocationSmart”). 8 TechnoCom Corporation is a Delaware corporation, headquartered in
 9   Carlsbad, California.
10             21.   LocationSmart advertises itself as a “a comprehensive location platform[.]” 9 In
11   2015, LocationSmart merged with Locaid, which was marketed at the time as “the world’s
12   largest Location-as-a-Service platform for enterprise location[.]” 10 Location-as-a-Service refers
13   to a “location data delivery model where privacy protected physical location data acquired
14   through multiple sources including carriers, Wi-Fi, IP addresses and landlines is available to
15   enterprise customers[.]” 11 LocationSmart and Locaid now operate under the LocationSmart
16   brand, which advertises itself as the “world’s largest location-as-a-service company.” 12
17             22.   LocationSmart, as a location data aggregator, compiles location information from
18   numerous sources for use by LocationSmart’s customers. On its website, LocationSmart
19   advertised that it obtains location data from more than 175 million devices through wireless
20
     7
21     Letter from Timothy McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (Feb. 15,
     2019), available at https://www.documentcloud.org/documents/5767087-AT-T-Response-to-
22   Wyden-on-Phone-Location-Data.html.
     8
       “TechnoCom Rebrands Platform as LocationSmart,” LocationSmart (April 16, 2012), available
23   at https://www.locationsmart.com/company/news/technocom-rebrands-platform-as-
     locationsmart.
24   9
       “Home,” LocationSmart, available at https://www.locationsmart.com/.
     10
25      “LocationSmart and Locaid Announce Merger,” LocationSmart (Feb. 26, 2015), available at
     https://www.locationsmart.com/company/news/locationsmart-and-locaid-announce-merger.
26   11
        “Location as a Service,” Wikipedia, available at
     https://en.wikipedia.org/wiki/Location_as_a_service.
27   12
        “Location Intelligence,” LocationSmart (accessed May 9, 2019), available at
     https://www.locationsmart.com/platform/location.
28
                                           –6–
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 1   carriers, and supplements that location data using 1.8 billion WiFi access points, GPS data, three
 2   billion IP addresses, and 3.2 billion browsers. 13 LocationSmart advertises to its customers that
 3   they can use this information data for various purposes, including “retail, financial services,
 4   contact centers, logistics and supply chain, transportation, gaming and roadside assistance among
 5   others.” 14
 6           23.     LocationSmart’s relationship with AT&T is critical to LocationSmart’s business
 7   model, as it provides LocationSmart with direct access to AT&T customers’ location data. In
 8   May 2018, LocationSmart stated that it could “deliver access to more than 400 million mobile
 9   devices across the country, reach to over 95 percent of U.S. wireless subscribers and coverage for
10   over 100 million landlines as a result of direct connections with all major carriers. Carrier
11   Network Location allows enterprises to reach all devices with cellular data connections and this
12   includes everything from smartphones and feature phones to tablets and M2M modules.” 15
13           24.     Upon information and belief, AT&T gave LocationSmart explicit and implied
14   authority to act on AT&T’s behalf in accessing AT&T customers’ location data.
15           25.     LocationSmart also works with carriers like AT&T to test, monitor, and report on
16   location data accuracy for 911 emergency purposes. 16
17           26.     Defendant Zumigo is a California corporation headquartered in San Jose,
18   California. Zumigo was founded in 2008 “with a mission to enable and secure commerce using
19   Mobile networks.” 17 AT&T used Zumigo to manage the buying and selling of its customers’ real-
20   time location data. 18
21   13
        Id.
22   14
        “LocationSmart and Carrier Network Location,” LocationSmart, available at
     https://www.locationsmart.com/resources/carrier-network-location.
23   15
        “Carrier Network Location Collateral,” LocationSmart (archived from May 12, 2018),
     attached hereto as Ex. C.
24   16
        “Carrier Services,” LocationSmart, available at
25   https://www.locationsmart.com/platform/carrier-services.
     17
        Snehashis Khan, “Securing Transactions and Customer Applications Through Location,”
26   Zumigo Inc. (Jan. 2017), available at
     https://geospatialworldforum.org/speaker/SpeakersImages/securing-transactions-and-customer-
27   applications-through-location.pdf.
     18
        Letter from Timothy McKone to U.S. Senator Ron Wyden (Feb. 15, 2019), supra at 7.
28
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 1             27.    Critical to Zumigo’s business model is its direct access to AT&T customers’
 2   location data. Zumigo markets itself as “a trusted partner of mobile providers, credit bureaus,
 3   financial institutions, and retail merchants” 19 and advertises its ability to “[r]oute traffic over the
 4   cellular network” and utilize “realtime user identity information.” 20
 5             28.    Upon information and belief, AT&T gave Zumigo explicit and implied authority
 6   to act on AT&T’s behalf in accessing AT&T customers’ location data.
 7             29.    Each of the Aggregator Defendants work as an agent of AT&T. On information
 8   and belief, AT&T and each of the Aggregator Defendants has a relationship wherein AT&T has
 9   the right to control which third parties each Aggregator Defendant may provide with access to
10   AT&T’s customer location data. On information and belief, AT&T gives each Aggregator
11   Defendant the right to contract with third parties to access AT&T location data on AT&T’s
12   behalf.
13             30.    AT&T, LocationSmart, and Zumigo are collectively referred to herein as
14   “Defendants.”
15   II.       JURISDICTION AND VENUE
16             31.    This Court has jurisdiction over this matter under 28 U.S.C. § 1331 because this
17   case arises under federal question jurisdiction under the Federal Communications Act (“FCA”).
18   The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the state law claims
19   because the claims are derived from a common nucleus of operative facts. The Court also has
20   jurisdiction over this action pursuant to 28 U.S.C. § 1332 because this is a class action in which
21   the matter or controversy exceeds the sum of $5,000,000, exclusive of interests and costs, and in
22   which some members of the proposed Class are citizens of a different state than Defendants.
23             32.    This Court has personal jurisdiction over Defendants because Defendants
24   purposefully direct their conduct at California, transact substantial business in California
25   (including in this District), have substantial aggregate contacts with California (including in this
26   District), engaged and are engaging in conduct that has and had a direct, substantial, reasonably
27
     19
          “Company,” Zumigo, available at https://zumigo.com/company/.
28   20
          “Solutions,” Zumigo, available at https://zumigo.com/solutions/.
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 1   foreseeable, and intended effect of causing injury to persons throughout the United States,
 2   including those in California (including in this District), and purposely avail themselves of the
 3   laws of California. Each of the Plaintiffs paid for AT&T services within the state, and each was
 4   injured in California where they reside. AT&T had more than 33,000 employees in California as
 5   of 2017, and 1,470 retail locations in the state. 21 Additionally, Defendants Zumigo and
 6   LocationSmart are headquartered in and/or have principal places of business in California.
 7            33.    In accordance with 28 U.S.C. § 1391, venue is proper in this district because a
 8   substantial part of the conduct giving rise to Plaintiffs’ claims occurred in this District and
 9   Defendants transact business in this District.
10   III.     DIVISION ASSIGNMENT
11            34.    Pursuant to Civil L.R. 3-2(c), assignment to this Division is proper because a
12   substantial part of the conduct which gives rise to Plaintiffs’ claims occurred in this District.
13   Defendants market their products throughout the United States, including in San Francisco and
14   Alameda counties.
15   IV.      ALLEGATIONS APPLICABLE TO ALL COUNTS
16            A.     AT&T Has Access to Its Customers’ Real-Time Location Data by Virtue of
                     Operating a Mobile Cellular Phone Network.
17
              35.    By virtue of operating a mobile phone network, AT&T knows its customers’ real-
18
     time locations because it has to collect that information to provide service to its customers’
19
     cellular phones.
20
              36.    Cellular phone networks work by routing phone calls, text messages, and data for
21
     email messages, Internet browsing, mobile applications, and other operations from a network of
22
     fixed towers containing antennas to an individual customer’s cell phone.
23
              37.    To receive information from fixed towers, cell phones scan their surroundings and
24
     connect with the towers providing the best signal, which are often the ones that are physically
25
     closest to the phones.
26
27
28   21
          “About Us,” AT&T, supra at 4.
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 1            38.         Cell phones are designed to continuously scan and connect with the cell tower
 2   providing the best signal, and they perform this task in the background without the customer’s
 3   knowledge or direction. Each time a phone connects to a tower, there is a record created that
 4   details exactly when a particular cell phone connected to a fixed cellular tower, and to which
 5   tower.
 6            39.      Depending on the area and the number of cell towers present, the data can provide
 7   the real-time location of a customer’s cell phone to within 50 meters.
 8            40.     Because AT&T operates a mobile phone network, it obtains troves of this precise
 9   real-time location data around the clock for each device used by every customer on its network.
10            B.      Public Reports Reveal AT&T’s Sale of Access to Its Customers’ Real-Time
                      Location Data, and the Rampant Abuses Flowing from Such Sale.
11
              41.      AT&T’s and the Aggregator Defendants’ sale of Plaintiffs’ and all other AT&T
12
     wireless customers’ location data was unknown to Plaintiffs and the public at large until it began
13
     to be revealed in media reports in 2018 and 2019.
14
                     i.        May 2018 Reporting Reveals AT&T’s Sale of Customer Location Data
15                             to Prison Officials.
16            42.      In May 2018, The New York Times reported that AT&T was selling access to its
17   customers’ real-time location data to a company called Securus Technologies, Inc. (“Securus”), a
18   company that contracts with prisons and jails to be provide inmate communication services at
19   those facilities. 22
20            43.         Securus was obtaining access to AT&T customers’ location data through
21   intermediaries Defendant LocationSmart and a company called “3Cinteractive.” 23
22   LocationSmart contracted with AT&T and had direct access to AT&T customers’ real-time
23   location data. With AT&T’s permission and knowledge, LocationSmart then served as a conduit
24
25
26   22
        Jennifer Valentino-DeVries, “Service Meant to Monitor Inmates’ Calls Could Track You,
     Too,” THE NEW YORK TIMES (May 10, 2018), available at
27   https://www.nytimes.com/2018/05/10/technology/cellphone-tracking-law-enforcement.html.
     23
        Id.
28
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 1   between AT&T and hundreds of third parties—including Securus and 3Cinteractive—seeking to
 2   use AT&T customers’ location data for various commercial purposes. 24
 3          44.     Securus went on to sell its access to AT&T customers’ location data to thousands
 4   of third parties, including local law enforcement. Figure 1 immediately below illustrates the
 5   flow of customer location information.
 6
                             Location                                                       Detention
 7         AT&T                                   3Cinteractive            Securus
                              Smart                                                          facilities
 8
 9                                                Figure 1

10          45.     This data-sharing arrangement allowed countless unknown individuals to obtain

11   unauthorized access to AT&T customers’ real-time location data. For example, a Securus

12   customer, former sheriff Corey Hutcheson, used carrier location data to target and track

13   individuals’ real-time locations—including the location of a Missouri state judge and several

14   members of law enforcement—over the course of three years, without their consent or

15   knowledge and without legal authority to do so. 25

16          46.     Corey Hutcheson had access to Securus’ location services beginning in at least

17   2014. 26 That same year, the FBI began investigating Hutcheson for using his access to Securus’

18   online web portal to illegally track the location of cell phones, including the phones of a former

19   sheriff, five state troopers, and Circuit Judge David Dolan. 27 The allegations raised suspicions

20   among lawyers that Hutcheson had been using the same technology to target local suspects. 28

21   Indeed, federal authorities allege that Hutcheson “submitted thousands of Securus [location

22   services] requests and obtained the location data of individual phone subscribers without valid

23   24
        Id.
     25
        Id.
24   26
        See Superseding Indictment, U.S. v. Hutcheson, No. 1:18-cr-00041-JAR (E.D. Mo. Aug. 17,
25   2018) (hereafter “Hutcheson Indictment”), Dkt. No. 33 at ¶ 15.
     27
        Doyle Murphy, “Sheriff Cory Hutcheson Vowed to Clean Up His Rural Missouri County.
26   Now He’s the One Facing Prison,” Riverfront Times (Apr. 26, 2018), available at
     https://www.riverfronttimes.com/stlouis/sheriff-cory-
27   hutcheson/Content?oid=4857359&showFullText=true.
     28
        Id.
28
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 1   legal authorization, and, often, without the consent or even knowledge of the targeted
 2   individual.” 29
 3           47.       Federal authorities alleged that Hutcheson had obtained access to individuals’
 4   location data by routinely uploading random documents to the Securus web portal and claiming
 5   that those documents constituted legal authority authorizing him to access other individuals’
 6   precise location data. 30 On the basis of those documents, Securus then provided Hutcheson with
 7   individuals’ real-time, precise location data, which was determined using their cell carriers’
 8   technology and access to their phones. 31
 9           48.       After AT&T’s location data sharing arrangement and the resulting abuses were
10   revealed, U.S. Senator Ron Wyden wrote a letter to AT&T Inc.’s CEO, Randall L. Stephenson. 32
11   Senator Wyden informed AT&T that it was “prohibited from sharing certain customer
12   information, including location data, unless the carrier either has the customer’s consent or
13   sharing is otherwise required by law” and that AT&T must “ensure surveillance of
14   communications and call records using their facilities can only be conducted with the direct and
15   specific oversight of the provider.” 33
16           49.       The fact that Securus was able to provide the location service at all, Senator
17   Wyden stated, “suggests that AT&T does not sufficiently control access to … customers’ private
18   information.” 34 The Senator stated that no company should be able to provide customers’ private
19   information directly to law enforcement “without AT&T’s active oversight and direction.” 35
20           50.       Senator Wyden also wrote to the FCC, asking the agency to “investigate abusive
21   and potentially unlawful practices of wireless carriers” regarding their sale of access to
22
23   29
        Hutcheson Indictment at ¶ 26.
     30
        Id. at ¶¶ 19-23.
24   31
        Id. at ¶ 25.
     32
25      Letter from U.S. Senator Ron Wyden to Randall L. Stephenson (AT&T) (May 8, 2018),
     available at https://www.documentcloud.org/documents/4457319-Wyden-Securus-Location-
26   Tracking-Letter-to-AT-amp-T.html.
     33
        Id. (emphasis added).
27   34
        Id.
     35
        Id.
28
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 1   customers’ real-time location data. 36 Senator Wyden asserted that Securus granted law
 2   enforcement access to the location of “any U.S. wireless phone number” if the official uploaded
 3   “a document purporting to be an ‘official document giving permission’” to access the data. 37
 4   But, as demonstrated by Sheriff Hutcheson’s submissions, those documents need not actually
 5   confer any legal authority at all before location data would be provided. Senator Wyden warned
 6   that the carriers’ practice of selling customer location data without determining whether there
 7   was consent or legal authority for such access “needlessly exposes millions of Americans to
 8   potential abuse and surveillance by the government.” 38
 9          51.     The risk that the routine sale of customers’ location data presents to the public is
10   exemplified by Sheriff Hutcheson’s tracking of judicial officials, law enforcement, and suspects.
11          52.     The vulnerability of AT&T customers’ location data is further illustrated by a
12   breach of the Securus server. 39 In May 2018, a hack on Securus’ server exposed data concerning
13   thousands of Securus customers, including their login information and passwords, thereby
14   exposing AT&T customers’ location data to countless unknown third parties. 40
15          53.     Strikingly, the Securus hacker reported that gaining access to AT&T’s highly
16   sensitive location information for millions of its customers was “relatively simple.” 41
17          54.     The very same day that the Securus hack was reported, a security researcher at
18   Carnegie Mellon University identified a security flaw in Aggregator Defendant LocationSmart’s
19   online demonstration, which allowed any member of the public to obtain real-time location
20   information for AT&T customers, without the customers’ knowledge or consent. 42 The
21   36
        Letter from U.S. Senator Ron Wyden to Chairman Ajit Pai (FCC) (May 8, 2018), available at
22   https://www.wyden.senate.gov/imo/media/doc/wyden-securus-location-tracking-letter-to-fcc.pdf.
     37
        Id.
23   38
        Id.
     39
        Joseph Cox, “Hacker Breaches Securus, the Company That Helps Cops Track Phones Across
24   the US,” MOTHERBOARD (May 16, 2018), available at
25   https://motherboard.vice.com/en_us/article/gykgv9/securus-phone-tracking-company-hacked.
     40
        Id.
26   41
        Id.
     42
        Brian Krebs, “Tracking Firm LocationSmart Leaked Location Data for Customers of All
27   Major U.S. Mobile Carriers Without Consent in Real Time Via Its Web Site,” KREBS ON
     SECURITY (May 17, 2018), available at https://krebsonsecurity.com/2018/05/tracking-firm-
28
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 1   researcher, Robert Xiao, had reportedly become interested in LocationSmart following reports
 2   that LocationSmart was supplying Securus with access to carrier customer location data. 43
 3          55.     At the time of the hack, LocationSmart had a free demonstration on its website for
 4   potential customers (such as Securus) to try out its location targeting technology. LocationSmart
 5   claimed it could provide the precise location of almost any cell phone in the United States using
 6   location data from major cellphone carriers, including AT&T. 44 The demo, which was available
 7   to the public through LocationSmart’s website, was supposed to seek consent from the targeted
 8   cell phone user via text message before supplying the location data. 45
 9          56.     However, LocationSmart failed to properly protect the data used in the demo,
10   thereby allowing “[a]nyone with a modicum of knowledge about how Web sites work [to] abuse
11   the LocationSmart demo site to figure out how to conduct mobile number location lookups at
12   will, all without ever having to supply a password or other credentials.” 46 With “minimal
13   effort,” Mr. Xiao was able to bypass the demo’s text message consent structure, unlocking the
14   ability to obtain any AT&T customer’s location data without the customer’s consent or
15   knowledge. 47 This unsecured demo had been publicly accessible on LocationSmart’s website for
16   approximately 16 or 17 months. 48
17          57.     In response to reporting about Securus and LocationSmart, AT&T admitted that
18   Securus “did not in fact obtain customer consent before collecting customers’ location
19   information” and claimed that, as a result, AT&T had “suspended all access by Securus to AT&T
20   customer location data.” 49
21
     locationsmart-leaked-location-data-for-customers-of-all-major-u-s-mobile-carriers-in-real-time-
22   via-its-web-site/.
     43
        Id.
23   44
        Id.
     45
        Id.
24   46
        Id. (emphasis added).
     47
25      Id. (emphasis added).
     48
        Id.
26   49
        Brian Krebs, “AT&T, Sprint, Verizon to Stop Sharing Customer Location Data with Third
     Parties,” KREBS ON SECURITY (June 19, 2018), available at
27   https://krebsonsecurity.com/2018/06/verizon-to-stop-sharing-customer-location-data-with-third-
     parties/.
28
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 1          58.     AT&T also claimed that Securus—rather than AT&T—was responsible for
 2   securing a customer’s consent before sharing their real-time, precise location data. 50 AT&T
 3   stated that it had taken “prompt steps to protect customer data” 51 and that its “top priority is to
 4   protect our customers’ information and, to that end, [it would] be ending [its] work with
 5   aggregators for these services as soon as practical in a way that preserves important, potential
 6   lifesaving services like emergency roadside assistance.” 52 Each of these statements was false
 7   and/or misleading, as fully alleged below.
 8                ii.     June 2018 Reporting Reveals AT&T’s Sale of Customer Location Data
                          to Additional Third Parties.
 9
            59.     By June 2018, reporting made clear that AT&T was not just selling its customer
10
     location data to prison officials and law enforcement for illegal and unauthorized use, but was
11
     also selling the data on a much larger scale for much broader purposes.
12
            60.     Just a few days after AT&T announced that it would stop selling customer data to
13
     Securus and the Aggregator Defendants, reporting revealed that AT&T customers’ location data
14
     was being sold to bail bondsmen, bounty hunters, landlords, and numerous other third parties for
15
     wide-ranging commercial purposes. 53
16
            61.     Bounty hunters and bail bondsmen were accessing carrier customers’ real-time
17
     location data through a third party (similar to Securus) called “Captira”– which advertised that it
18
19   50
        Id.
     51
        Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
20   2018), available at
21   https://www.wyden.senate.gov/imo/media/doc/at&t%20letter%20to%20RW%206.15.pdf.
     52
        Jon Brodkin, “Verizon and AT&T Will Stop Selling Your Phone’s Location to Data Brokers,”
22   ARS TECHNICA (June 19, 2018), available at https://arstechnica.com/tech-
     policy/2018/06/verizon-and-att-will-stop-selling-your-phones-location-to-data-brokers/; Brian
23   Fung, “Verizon, AT&T, T-Mobile and Sprint Suspend Selling of Customer Location Data After
     Prison Officials Were Caught Misusing It,” THE WASHINGTON POST (June 19, 2018), available
24   at https://www.washingtonpost.com/news/the-switch/wp/2018/06/19/verizon-will-suspend-sales-
25   of-customer-location-data-after-a-prison-phone-company-was-caught-misusing-
     it/?noredirect=on&utm_term=.4f7da64c1108.
26   53
        Joseph Cox, “Bail Bond Company Let Bounty Hunters Track Verizon, T-Mobile, Sprint, and
     AT&T Phones for $7.50,” MOTHERBOARD (June 22, 2018), available at
27   https://motherboard.vice.com/en_us/article/9k873e/captira-phone-tracking-verizon-tmobile-
     sprint-securus-locationsmart-bounty-hunters.
28
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 1   could track the location of all major carriers’ cell phones (including phones in the AT&T
 2   network), to an accuracy of 2 meters. 54
 3          62.      Captira publicly advertised that bounty hunters had used its cell phone location
 4   services to track people across state lines. 55 But by 2018, Captira had removed all references to
 5   its location services from its website, and the article’s sources claimed that companies with
 6   access to AT&T location data had stopped advertising their location services in 2014 or 2015 out
 7   of concern that the services were illegal. 56
 8                iii.    January 2019 Reporting Reveals AT&T’s Customer Location Data
                          Sales Are Ongoing.
 9
            63.      In January 2019, nearly seven months after AT&T had promised to stop selling
10
     information to the Aggregator Defendants, another media report revealed that AT&T was still
11
     selling access to customers’ precise, real-time location data to location aggregators and allowing
12
     the highly-sensitive data to be bought from bounty hunters and bail bondsmen for as little as
13
     $300. 57
14
            64.      This new reporting further revealed that AT&T had been providing—and
15
     continued to provide—access to real-time customer location data for almost every cell phone in
16
     the United States to a robust and shadowy downstream market, all without the cell phone user’s
17
     consent or knowledge. 58
18
            65.      Reporting showed that, once again, AT&T customer location data was available to
19
     numerous industries—“ranging from car salesmen and property managers to bail bondsmen and
20
     bounty hunters”—through a chain of third parties that began with AT&T and Aggregator
21
22
23
24   54
        Id. (emphasis added).
     55
25      Id.
     56
        Id.
26   57
        Joseph Cox, “I Gave a Bounty Hunter $300. Then He Located Our Phone,” MOTHERBOARD
     (Jan. 8, 2019), available at https://motherboard.vice.com/en_us/article/nepxbz/i-gave-a-bounty-
27   hunter-300-dollars-located-phone-microbilt-zumigo-tmobile.
     58
        Id.
28
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 1   Defendant Zumigo. Zumigo then sold the data to a company called Microbilt. 59 AT&T
 2   confirmed that it had approved Zumigo’s sale of its customers’ data to Microbilt. 60
 3            66.   Microbilt, in turn, sold the AT&T location data “to a dizzying number of sectors,
 4   including landlords to scope out potential renters; motor vehicle salesmen, and others who are
 5   conducting credit checks.” 61 Figure 2 immediately below further illustrates the flow of customer
 6   location information.
 7
 8
 9
10
11
12
13
14
15
16
                                                  Figure 2
17
              67.   These industries used Microbilt’s services to “return a target’s full name and
18
     address, geolocate a phone in an individual instance, or operate as a continuous tracking
19
     service.” 62 As Microbilt advertised to its clients, “[y]ou can set up monitoring with control over
20
     the weeks, days and even hours that location on a device is checked as well as the start and end
21
     dates of monitoring.” 63
22
              68.   Included among Microbilt’s customers are bail bondsmen and bounty hunters.
23
24
25   59
        Id.
26   60
        Id.
     61
        Id.
27   62
        Id.
     63
        Id.
28
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 1            69.   In one January 2019 report, a journalist was able to find the real-time location of a
 2   phone in Queens, New York, within an accuracy of just a few blocks, by buying location data
 3   from Microbilt through a bounty hunter. 64 But for the reporter personally informing the phone’s
 4   owner that he would be using the technology to locate her, no consent was obtained by the
 5   bounty hunter before locating the phone. The phone’s owner was never informed by her carrier,
 6   the location aggregator, or the bounty hunter that her real-time location data would be or had
 7   been accessed, nor was her consent requested to do so. None of them provided her with a text
 8   message, alert, notification, or indeed any indication at all that they had accessed her phone and
 9   targeted her location: their access was completely invisible to her. 65
10            70.   Just as access to the carrier location data was passed down a chain, so too was the
11   proclaimed responsibility for obtaining customer consent before accessing that data. Both the
12   carriers and the Aggregator Defendants claimed that they required their clients “to get consent
13   from the people they want to track,” rather than obtain any direct consent themselves. 66
14            71.   A bail industry employee who used Microbilt to access cell carrier location data
15   confirmed that the lack of a true consent structure for the real-time location data allowed the data
16   to be used for nefarious purposes, such as allowing bounty hunters to “track[] their girlfriends.” 67
17   It also allowed for a robust, unregulated black market of the data to develop. According to the
18   source, “[t]hose third-level companies sell their services. That is where you see the issues with
19   going to shady folks [and] for shady reasons.” 68
20            72.   AT&T admitted that use of its customers’ data by bounty hunters was an explicit
21   breach of the company’s policies. 69 However, AT&T attempted to downplay the importance of
22   the Securus and Microbilt breaches as isolated events.
23
24
     64
25      Id.
     65
        Id.
26   66
        Id.
     67
        Id.
27   68
        Id.
     69
        Id.
28
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 1           73.     In response to this latest round of reporting, fifteen U.S. senators called for an
 2   investigation into how AT&T and other wireless carriers were selling access to real-time
 3   customer location data. 70 Their letter stated: “It is clear that these wireless carriers have failed to
 4   regulate themselves or police the practices of their business partners, and have needlessly
 5   exposed American consumers to serious harm.”
 6                 iv.        February 2019 Reporting Reveals Scope and Nature of AT&T’s Sale of
                              Customer Location Data to Bounty Hunters.
 7
             74.         On February 6, 2019, public reporting revealed both the large scale of cell
 8
     carriers’ sale of access to their customers’ location data to bounty hunters and that AT&T was
 9
     allowing the sale of a particularly precise type of location data. 71
10
             75.     This round of reporting centered largely on a bail bond and bounty hunter
11
     company called CerCareOne. CerCareOne obtained access to carrier-level location data,
12
     including data from AT&T, through LocationSmart. 72
13
             76.     As industry documents confirm, CerCareOne sold its access to more than 250
14
     bounty hunters and related businesses between 2012 and 2017. 73 These companies were
15
     conducting thousands of searches for customers’ precise geolocation data (these searches are
16
     often called “pings”), with one bail bond company making more than 18,000 data requests.
17
18
19   70
        Letter from United States Senators Ron Wyden, Edward J. Markey, Kamala D. Harris, Jeffrey
     A. Merkley, Sheldon Whitehouse, Charles E. Schumer, Richard Blumenthal, Patrick Leahy,
20   Benjamin L. Cardin, Amy Klobuchar, Kirsten Gillibrand, Cory A. Booker, Jack Reed, Tina
21   Smith, and Bernard Sanders to Joseph J. Simons (FTC) and Ajit Pai (FCC) (Jan. 24, 2019),
     available at https://www.wyden.senate.gov/imo/media/doc/15-senators-location-aggregator-
22   letter-to-fcc-ftc-final.pdf.
     71
        Joseph Cox, “Big Telecom Sold Highly Sensitive Customer GPS Data Typically Used for 911
23   Calls,” MOTHERBOARD (Feb. 6, 2019), available at
     https://motherboard.vice.com/en_us/article/a3b3dg/big-telecom-sold-customer-gps-data-911-
24   calls; Joseph Cox, “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint
25   Customer Location Data for Years,” MOTHERBOARD (Feb. 6, 2019), available at
     https://motherboard.vice.com/en_us/article/43z3dn/hundreds-bounty-hunters-att-tmobile-sprint-
26   customer-location-data-years.
     72
        Joseph Cox, “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint
27   Customer Location Data for Years,” supra at 71.
     73
        Id.
28
                                              – 19 –
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 1            77.   This latest round of reporting also revealed that AT&T was selling access to a
 2   particularly sensitive type of location data: “assisted GPS” or “A-GPS” data. A-GPS location is
 3   determined using the carrier’s network infrastructure, the phone’s GPS chip, and other
 4   technologies such as WiFi and Bluetooth. The combination can locate customers with finely-
 5   tuned accuracy, often revealing their location within a building. A-GPS data is intended to be
 6   used to help locate carrier customers when they called 911. LocationSmart confirmed that it was
 7   in fact using A-GPS data for location tracking. 74
 8            78.   As Colorado Law Associate Professor Blake Reid explained, “with assisted GPS,
 9   your location can be triangulated within just a few meters. This allows constructing a detailed
10   record of everywhere you travel.” 75
11            79.   Bounty hunters bought carrier-level location data for as much as $1,100 per ping,
12   and confirmed that they were reselling the location data to additional third parties. 76 The
13   articles’ sources confirmed that targeted individuals receive no text message or other warning
14   that their phones are being tracked. 77
15            80.   The companies selling access to carrier location data were attempting to keep the
16   sale of this data a secret. 78 As a condition of access to the data, CerCareOne required its
17   customers to agree to keep its very existence confidential. 79 It also designed a misleading
18   website: its homepage stated that the site was “under construction,” but a back-end portal
19   allowed its customers to log in and access call carrier customer location data. 80
20
21
22
23
24   74
        Id.
     75
25      Id.
     76
        Id.
26   77
        Id.
     78
        Id.
27   79
        Id.
     80
        Id.
28
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 1          81.     In March 2019, Senator Wyden wrote to executives at AT&T, stating it was “now
 2   abundantly clear that [they] have failed to be good stewards of [their] customers’ private location
 3   information.” 81
 4          82.     In sum, between May 2018 and March 2019, media reports revealed the existence
 5   of a vast, illegal market for the real-time location data of AT&T customers. AT&T granted direct
 6   access to this data to the Aggregator Defendants, who in turn sold such access to hundreds of
 7   third parties—including bounty hunters, bail bondsmen, landlords, and law enforcement—with
 8   AT&T’s consent. This system allowed the precise, real-time location data of millions of
 9   Americans to be bought and sold by unknowable third parties for years without customer consent
10   or knowledge and without valid legal authority. Despite numerous representations by AT&T that
11   it would end the Aggregator Defendants’ access to this data, the practice—and the risks it
12   created—continued without consequence.
13          C.      Defendants Developed and Profit from a Robust Market for Customers’
                    Real-Time Location Data.
14
            83.     Unauthorized individuals gained access to AT&T customers’ real-time location
15
     data without consent or legal authority because of AT&T’s practice of selling access to this data
16
     to data aggregators and hundreds of additional third parties without properly protecting the data
17
     or establishing sufficient safeguards and consent mechanisms. As a result, downstream
18
     purchasers have been able to systematically gain improper access to real-time customer location
19
     data without customer knowledge or consent, and without valid legal authority for such access.
20
            84.     Beginning at the latest in January 2011, AT&T began using data location
21
     aggregators to manage the buying and selling of its customers’ real-time location data. 82
22
23
24
     81
25      Letter from U.S. Senator Ron Wyden to Michel Combes (Sprint Corp.), Randall L. Stephenson
     (AT&T Inc.), John Legere (T-Mobile US, Inc.), and Hans Vestberg (Verizon Communications
26   Inc.) (Mar. 13, 2019), available at https://www.documentcloud.org/documents/5767085-Wyden-
     Letter-to-Telecoms-March-13th-2019.html.
27   82
        Aaron Huff, “AT&T Offers New Tracking Platform,” CCJ Digital (archived from Jan. 4,
     2011), attached hereto as Ex. D.
28
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 1           85.     In October 2011, LocationSmart (then known as Locaid) announced “AT&T’s
 2   adoption of [its] platform” and marketed its ability to “access location for 360 million mobile
 3   and landline devices nationwide.” 83 That same year, LocationSmart claimed its “crosscarrier
 4   web services platform provides instant access to nearly 90% of mobile and landline phones
 5   nationwide, including smart phones, feature phones and tablets.” 84
 6           86.     In 2019, AT&T confirmed that it contracted with Aggregator Defendants
 7   LocationSmart and Zumigo. 85
 8           87.     Upon information and belief, the Aggregator Defendants were given access to
 9   AT&T’s networks and infrastructure pursuant to their relationships with AT&T, allowing them to
10   directly access the location data of AT&T’s customers. 86
11           88.     In October 2012, LocationSmart advertised that it “connects directly to all major
12   nationwide carriers as a trusted aggregator of device location. . . . Let me share a little secret . . .
13   you have immediate access to virtually all subscribers with minimal development.” 87
14
15
16   83
        “AT&T Mobility leverages TechnoCom’s cross-carrier location platform as a key offering for
17   its enterprise customers,” LocationSmart (Oct. 11, 2011), available at
     https://www.locationsmart.com/company/news/san-diego-company-technocom-powers-atts-
18   location-information-services; see also “San Diego Company, TechnoCom, Powers AT&T’s
     Location Information Services,” LocationSmart (Oct. 11, 2011), available at
19   https://www.locationsmart.com/company/news/san-diego-company-technocom-powers-atts-
     location-information-services; Letter from Timothy McKone (AT&T Services, Inc.) to U.S.
20   Senator Ron Wyden (June 15, 2018), supra at 51.
     84
21      “Angel and TechnoCom Optimize Customer Experience with Cloud-Based Caller Location,”
     LocationSmart (Oct. 11, 2011), available at
22   https://www.locationsmart.com/company/news/angel-and-technocom-optimize-customer-
     experience-with-cloud-based-caller-location.
23   85
        Letter from Timothy McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (Feb. 15),
     2019, supra at 7.
24   86
        LocationSmart claimed that it first established “direct carrier connections” in 2010.
25   “LocationSmart Authorized to Deliver Location Data for iGaming in New Jersey,”
     LocationSmart (Nov. 27, 2013), available at
26   https://www.locationsmart.com/company/news/locationsmart-authorized-to-deliver-network-
     location-data-for-igaming-in-new-jersey.
27   87
        “LocationSmart Capabilities,” LocationSmart (archived from Oct. 31, 2012), attached hereto
     as Ex. E.
28
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 1          89.      In 2013, LocationSmart advertised that it had “direct mobile carrier connections
 2   covering over 90% of subscribers nationwide for secure mobile phone location and messaging
 3   services” and that its platform “utilizes direct network connections to obtain secure cellular and
 4   assisted GPS location insight.” 88
 5          90.      This direct access provided the Aggregator Defendants with immediate access to
 6   precise, real-time location data.
 7          91.      In 2018, LocationSmart advertised its ability to locate cell customers’ cell phones
 8   in 5 to 20 seconds, depending on the level of accuracy purchased. 89 “Network-based locates
 9   may be requested by accuracy desired. Precise, Coarse, or Best Effort requests may be made,”
10   LocationSmart explained. “Precise requests are <=300 meter accuracy; Coarse requests are >301
11   meters and Best Available provides the best location possible.” 90
12          92.      In 2017, Zumigo advertised that it “[l]ocates a mobile phone using mobile
13   networks – No app needed, no barriers to adoption!” 91 It explained that in order to locate carrier
14   customers, it “queries mobile network and seeks location [latitude-longitude] of customer” and
15   then “converts customer [latitude-longitude] to physical location[.]” 92
16          93.      Once the Aggregator Defendants obtained direct access to AT&T customers’ real-
17   time location data, they began selling access to that location data to their own customers.
18                 i.       For example, Aggregator Defendant LocationSmart provided Securus
19   with location data utilizing AT&T data. 93 Securus, in turn, contracted with thousands of different
20
21   88
        “LocationSmart Authorized to Deliver Location Data for iGaming in New Jersey,”
22   LocationSmart (Nov. 27, 2013), available at
     https://www.locationsmart.com/company/news/locationsmart-authorized-to-deliver-network-
23   location-data-for-igaming-in-new-jersey (emphasis added).
     89
        “FAQs,” LocationSmart, available at https://www.locationsmart.com/cms/resources/faqs-
24   2018.pdf.
     90
25      Id.
     91
        Snehashis Khan, “Securing Transactions and Customer Applications through Location,” supra
26   at 17 (emphasis in original).
     92
        Id.
27   93
        Jennifer Valentino-DeVries, “Service Meant to Monitor Inmates’ Calls Could Track You,
     Too,” supra at 22.
28
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 1   clients, including detention centers, to provide inmate communications services. 94 While
 2   Securus’ main business was monitoring where inmates were located when they placed calls, it
 3   offered an additional location data service (which it referred to as its “Location Based Service”
 4   or “LBS”). 95 In order to locate individuals through LBS, Securus granted prisons and jails
 5   access to a web portal where they could request real-time location data, which was determined
 6   using carrier-level technology. 96 This service was provided through intermediaries between the
 7   cell carriers and Securus, including LocationSmart and 3Cinteractive. 97
 8                ii.        Similarly, Aggregator Defendant Zumigo contracted with AT&T to obtain
 9   access to AT&T customer real-time location data. 98 Zumigo then began providing access to the
10   data to third party Microbilt, with AT&T’s approval. 99 Microbilt, in turn, sold the data to bounty
11   hunters, who sold it to bail bondsmen and—ultimately—to a journalist. Aggregator Defendant
12   Zumigo confirmed in 2019 that it provided the phone location to Microbilt and defended its sale
13   of that data to bounty hunters. 100
14                iii.       LocationSmart (then known as Locaid) was also responsible for selling
15   carrier location data to a company called CerCareOne. 101 For at least five years, CerCareOne
16   sold carrier customers’ real-time location data to at least 250 bounty hunters, bail bondsmen, and
17   bail agents to find the real-time location of mobile phones. 102 CerCareOne charged up to $1,100
18   per phone location request. Industry documents show—and LocationSmart admitted—that
19   LocationSmart continued to sell carrier data to CerCareOne after it merged with Locaid in
20   2015. 103
21   94
        See Hutcheson Indictment at ¶ 11.
22   95
        See id. at ¶ 2.
     96
        See id. at ¶¶ 3-4. As described in Sections A and C, the cell carriers’ infrastructure allows the
23   carriers to determine the precise location of their customers in real time.
     97
        See id. at ¶¶ 3-4. For more detail on this chain of access, see Section B.
24   98
        Letter from Timothy P. McKone to U.S. Senator Ron Wyden (Feb. 15, 2019), supra at 7.
     99
25      Joseph Cox, “I Gave a Bounty Hunter $300. Then He Located Our Phone,” supra at 57.
     100
         Id.
26   101
         “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint Customer
     Location Data for Years,” supra at 71.
27   102
         Id.
     103
         Id.
28
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 1           94.      In each of the above examples, the carrier customers’ sensitive, real-time location
 2   data was used to target and track those customers without their knowledge or consent, and
 3   without proper legal authority.
 4           95.      AT&T had knowledge that the Aggregator Defendants were selling access to its
 5   customers’ location data information to additional companies.
 6           96.      AT&T admitted in 2018 that it used the Aggregator Defendants to “manage[]
 7   requests for customer data” and claimed that “[s]uch practices are common among all major
 8   carriers.” 104
 9           97.      Not only did AT&T know that the Aggregator Defendants were selling its
10   customers’ location data to other companies, it was also aware of the scale of that market because
11   AT&T approved the Aggregator Defendants’ customers.
12           98.      Locaid, for example, informed its customers in 2011 that it would take
13   approximately two weeks for cell carriers to approve the customers’ request for access to the
14   carrier location data. 105
15           99.      Similarly, LocationSmart informed potential customers in 2012 that they would
16   need “[c]arrier review and confirmation to launch.” 106 In 2018, they advertised that “carrier
17   certification” takes two weeks. 107
18           100.     AT&T admitted in 2018 that it approved LocationSmart’s sale of data to
19   Securus. 108 As fully alleged above, Securus’ access to carriers’ location data caused thousands of
20   instances of unauthorized access to carrier customers’ real-time location data.
21
22
23   104
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
     2018), supra at 51.
24   105
         “Mobile Location Overview,” Locaid (April 2011), available at
25   https://cryptome.org/2014/08/locaid.pdf.
     106
         “How LocationSmart Works,” LocationSmart (archived from Oct. 31, 2012), attached hereto
26   as Ex. F.
     107
         “FAQs,” LocationSmart, supra at 89.
27   108
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
     2018), supra at 51.
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 1          101.    AT&T admitted in 2019 that it also provided access to its customer location data
 2   to Aggregator Defendant Zumigo and Microbilt. 109 As fully alleged above, Microbilt sold access
 3   to AT&T customers’ location data to numerous third parties, including bounty hunters who resold
 4   that access without any customer consent or legal authority.
 5          102.    AT&T participated in the unlawful sale of access to its customer location data,
 6   and as the entity in control of the networks upon which such access was based, had unbridled
 7   control over the practices.
 8          103.    AT&T also knew that the Aggregator Defendants were using its customer location
 9   data for a broad array of purposes, including marketing.
10          104.    In a 2013 public interview, LocationSmart CEO Mario Proietti advertised the
11   marketing potential of location data, stating that “[p]recise location detection using WiFi is also
12   ideal for proximity marketing to provide relevant promotions that enhance brand loyalty, drive
13   in-store traffic and increase conversion rates.” 110
14          105.    In a 2013 YouTube video, Zumigo CEO Chirag Bakshi stated, “I’d be remiss if I
15   didn’t mention the power of our location data for marketing. Our mobile data can make any
16   marketing program more relevant to your customer[.]” 111 In a 2017 presentation, Zumigo
17   advertised using its services to “[m]arket customers based on their current location.” 112
18          106.    AT&T was also aware of data aggregators’ location-based capabilities and uses
19   for the customer location data because it used the data itself. For example, one aggregator
20   confirmed that major telecommunications carriers rely on location data aggregators and bounty
21   hunters to use customer data—including location data—to find their own customers when those
22
23
     109
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (Feb. 15,
24   2019), supra at 7.
     110
25       Robert Prime, “Locationsmart.net Interview with Mario Proietti,” Telematics.com (Sept. 19,
     2013), available at https://www.telematics.com/location-smart-interview/.
26   111
         “Launchpad 360: Zumigo,” YouTube (Nov. 6, 2013), available at
     https://www.youtube.com/watch?v=PDVZmq-FlL0.
27   112
         Snehashis Khan, “Securing Transactions and Customer Applications Through Location,”
     supra at 17.
28
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 1   customers fail to pay their wireless bills. 113 In other words, carriers are not only selling the data
 2   but actually benefiting from its use as well.
 3          107.        This complex chain of location data sales demonstrates AT&T’s knowledge: (i)
 4   that its customers’ real-time location data was being bought and sold, (ii) of the depth and
 5   breadth of that market, (iii) of the lack of diligence in verifying customers’ consent, and (iv) of
 6   the various ways that the precise, real-time location data was being used.
 7          D.          Defendants Sell Access to Location Data Intended for Enhanced 911-
                        Purposes.
 8
            108.        AT&T’s location data is extremely valuable to the downstream data market
 9
     because it can reveal its customers’ precise, real-time location information on demand.
10
            109.        AT&T’s ability to obtain this very sensitive data was not intended for commercial
11
     sale, but rather for a much nobler purpose: to locate the carriers’ customers when they call 911.
12
     For this same reason, customers have no way to opt out of the collection of this data by their
13
     wireless carriers for use in emergency situations.
14
                   i.        AT&T Lobbies the FCC to Allow Its Use of Precise A-GPS Data to
15                           Comply with E911 Regulations.
16
            110.    As a telecommunications provider, AT&T is entrusted to use its cellular networks
17
     and the technology it installs within its customers’ phones to determine their location in case of
18
     an emergency. This technology, called Enhanced 911 service (“E911”) allows emergency
19
     response personnel to pinpoint the location of a cellular telephone caller anywhere in the United
20
     States when the caller places a 911 call.
21
            111.        The Federal Communications Commission (“FCC”) first established E911
22
     location accuracy rules in 1997. By 2010, the FCC was concerned about the accuracy of E911
23
     data for calls placed from inside buildings or residences, and sought comment from carriers and
24
     the public about the feasibility of implementing accuracy rules regarding indoor 911 calls. 114
25
26
     113
       “I Gave a Bounty Hunter $300. Then He Located Our Phone,” Cyber Podcast (Jan. 24, 2019).
27   114
       Further Notice of Proposed Rulemaking and Notice of Inquiry, In the Matter of Wireless
     E911 Location Accuracy Requirements, 25 FCC Rcd 18957 (2010).
28
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 1   Several working groups began analyzing the issue and designing test beds for new technology. 115
 2   Aggregator Defendant LocationSmart participated in this testing 116 and described itself as a “key
 3   player in the development and adoption of industry standard E911 testing methodologies.” 117
 4          112.    In 2014, the FCC alerted wireless companies that it would indeed be updating its
 5   E911 location accuracy rules “to ensure accurate indoor location information.” 118 In the near
 6   term, the FCC proposed accuracy metrics that would allow responders to “identify floor level for
 7   most calls from multi-story buildings.” 119 In the long term, it sought location information at the
 8   room or office suite level. 120 The FCC sought carriers’ comments on how to meet these goals. 121
 9          113.    In response, major telecommunications providers—including AT&T—proposed
10   “a new course” which would allow them to pinpoint 911 callers at the floor, suite, or apartment
11   level by leveraging “new technologies” that used signals from nearby fixed wireless devices,
12   such as increasingly prevalent Wi-Fi access points and Bluetooth Low Energy beacons to locate
13   carrier subscribers. 122 With this new technology (referred to herein as “assisted GPS” or “A-
14   GPS”), the carrier’s network would “automatically collect information from the wireless handset
15   about wireless access points within the vicinity of the wireless handset.” 123 Carriers, including
16   AT&T, would cause this information to be stored on their customers’ devices where it would be
17   made available to the carriers and could be shared in the event of an emergency.
18
     115
         See, e.g., “Working Group 3, E 9-1-1 Location Accuracy Final Report v2,” Communications
19
     Security, Reliability and Interoperability Council III (June 1, 2012), available at
20   http://transition.fcc.gov/bureaus/pshs/advisory/csric3/CSRICIII_6-6-12_WG3-Final-Report.pdf.
     116
         See, e.g., Letter from Masoud Motamedi (President, TechnoCom Corporation) to Marlene H.
21   Dortch (Secretary, FCC) (June 23, 2014), available at
22   https://ecfsapi.fcc.gov/file/7521337390.pdf.
     117
         “TruePosition Indoor Test Report: Wilmington, DE,” TechnoCom (June 18, 2014), attached
23   hereto as Ex. G.
     118
         Third Further Notice of Proposed Rulemaking, In the Matter of Wireless E911 Location
24   Accuracy Requirements, 29 FCC Rcd 2374 ¶ 1 (2014) (hereafter “Third Further Notice”).
     119
25       Id.
     120
         Id.
26   121
         Id. at ¶ 2.
     122
         Id.
27   123
         Memorandum Opinion and Order, In the Matter of Wireless E911 Location Accuracy
     Requirements, 32 FCC Rcd. 9699 ¶ 5 (2017) (hereafter “NEAD Implementation Order”).
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 1          114.    Once a cell phone “knows” what Wi-Fi or Bluetooth beacons are nearby, using A-
 2   GPS technology, it also needs to “know” where exactly those beacons are located (via a physical
 3   address) to provide the phone’s location. To solve this problem, the carriers proposed the
 4   creation of the National Emergency Address Database (“NEAD”) to store the physical addresses
 5   of fixed indoor beacons. 124 The beacons would be identified by a unique number called a MAC
 6   address, which is similar to a hardware serial number. The carriers’ networks could then query
 7   the NEAD platform for MAC addresses of beacons near the 911 caller’s phone to see if the
 8   beacons were saved in the NEAD and associated with a verified street address.” 125 For example,
 9   an entry in the NEAD might look like Figure 3 immediately below for a beacon located within
10   the Library of Congress:
11         MAC Address            Street 1                     Street 2   City              State
12         1a:2b:3c:4e:5f:6a      101 Independence Ave. Fl. 3             Washington        DC
13                                              Figure 3 126
14          115.    Numerous consumer privacy organizations warned the FCC that the NEAD raised
15   “significant privacy-related concerns.” 127 Specifically, the location technology underlying the
16   NEAD could be “used to improve location accuracy not only of E911 services, but also of other
17   services, including commercial services, that rely on the same technology. This is concerning
18   because consumers are highly protective of information about their location.” 128
19
20
     124
21       Roadmap at Section 2(e)(i).
     125
         NEAD Implementation Order ¶ 5.
22   126
         Comments of Public Knowledge, Alvaro Bedoya, American Civil Liberties Union, Benton
     Foundation, Center For Democracy & Technology, Center For Digital Democracy, Common
23   Sense Media, Consumer Action, Consumer Federation of America, Consumer Federation of
     California, Consumer Watchdog, Electronic Frontier Foundation, Electronic Privacy Information
24   Center, New America Foundation’s Open Technology Institute Privacy Rights Clearinghouse,
25   U.S. PIRG, and World Privacy Forum, In the Matter of Wireless E911 Location Accuracy
     Requirements (Dec. 15, 2014) at 3, available at
26   https://www.publicknowledge.org/documents/official-comments-on-wireless-e911-location-
     accuracy-requirements.
27   127
         Id. at 2.
     128
         Id. at 5 (emphasis added).
28
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 1          116.     In February 2015, the FCC announced that wireless carriers would be required to
 2   provide either a dispatchable address or longitude and latitude location “within 50 meters” for a
 3   gradually increasing percentage of wireless 911 calls, ultimately aiming to achieve location data
 4   within 50 meters for 80% of wireless 911 calls by 2020. 129 It also set benchmarks for the
 5   development of z-axis data (i.e., height or floor within a building). 130 Crucially, the FCC gave
 6   wireless carriers permission to develop the ability to use, and then actually use, their customers’
 7   A-GPS data for E911 purposes. 131
 8          117.     Importantly, the FCC also adopted new privacy rules that applied to the new E911
 9   A-GPS data being developed and utilized by the carriers. The FCC required that “as a condition
10   of using the NEAD or any information contained therein to meet our 911 location requirements,
11   and prior to use of the NEAD, [wireless carriers] must certify that they will not use the NEAD or
12   associated data for any purpose other than for the purpose of responding to 911 calls, except as
13   required by law.” 132 AT&T, specifically, “pledg[ed] that the information contained in the NEAD
14   will not be used for any non-emergency purposes.” 133
15                 ii.    AT&T Sold Access to E911 Data for Commercial Purposes.
16          118.     Despite the sensitive nature of precise E911 A-GPS location data and AT&T’s
17   obligations and promises to protect this data from unauthorized or commercial use, AT&T began
18   providing access to its customers’ E911 A-GPS data to the Aggregator Defendants and hundreds
19   of third parties without proper customer consent or legal authority.
20          119.     As confirmed by industry documents, the Aggregator Defendants’ downstream
21   customers were obtaining access to carrier customers’ A-GPS data. 134
22
     129
         47 C.F.R. § 20.18(i)(2)(i).
23   130
         47 C.F.R. § 20.18(i)(2)(ii).
     131
         See, e.g., 47 C.F.R. § 20.18(h)(1)(v).
24   132
         47 C.F.R. § 20.18(i)(4)(iv) (emphasis added).
     133
25       Fourth Report and Order, In the Matter of Wireless E911 Location Accuracy Requirements,
     30 F.C.C. Rcd. 1259 ¶ 71 (2015) (“AT&T pledges that the information contained in the NEAD
26   will not be used for any non-emergency purposes.”). AT&T filed its certification regarding the
     use of the NEAD at the FCC on June 1, 2018.
27   134
         “Big Telecom Sold Highly Sensitive Customer GPS Data Typically Used for 911 Calls,”
     supra at 71.
28
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 1           120.      Carriers admit that this A-GPS data is intended for use in public safety scenarios.
 2   As one carrier told the FCC: “A-GPS is reasonably the foundation of wireless [emergency] 911
 3   location for both indoor and outdoor locations.” 135
 4           121.      AT&T knew that access to its customers’ A-GPS was being sold. The Aggregator
 5   Defendants publicly marketed their ability to use precise A-GPS data for commercial purposes.
 6           122.      LocationSmart’s 2018 advertising materials likewise confirmed its use of beacon-
 7   based A-GPS technology. 136
 8           123.      LocationSmart advertises to customers its ability to “utilize the same technology
 9   used to enable emergency assistance and this includes cell tower and cell sector location,
10   Assisted GPS and cell tower trilateration.” 137 In May 2018, LocationSmart disclosed that “[t]he
11   data provided is based on cell tower location, cell tower trilateration and assisted GPS
12   information gleaned from the mobile devices” and stated that its services “can pinpoint precise
13   locations.” 138
14           124.      LocationSmart confirmed that “[c]arrier location services available through
15   LocationSmart are based on a variety of technologies depending on each carrier’s particular
16   location infrastructure implementation. That could include AGPS, cell tower, cell sector, or cell
17   site trilateration.” 139
18           125.      As described by Colorado Law Associate Professor Blake Reid, “the only reason
19   we grant carriers any access to this information is to make sure that first responders are able to
20   locate us in an emergency. If the carriers are turning around and using that access to sell
21
22
23
24   135
         Letter from John T. Nakahata (Counsel to T-Mobile USA, Inc.) to Marlene H. Dortch (FCC)
25   (Nov. 16, 2013), available at https://ecfsapi.fcc.gov/file/7520958047.pdf.
     136
         “FAQs,” LocationSmart, supra at 89.
26   137
         Ex. C (LocationSmart “Carrier Network Location Collateral”).
     138
          Id.
27   139
         Joseph Cox, “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint
     Customer Location Data for Years,” supra at 71.
28
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 1   information to bounty hunters or whomever else, it is a shocking abuse of the trust that the public
 2   places in them to safeguard privacy while protecting public safety.” 140
 3          E.      AT&T Allowed Unauthorized Third Parties to Access Customers’ Location
                    Data.
 4
            126.    While admitting that it allowed third parties to access its customers’ real-time
 5
     location data, AT&T asserted that such access was only granted with customer consent or legal
 6
     authority. 141 That representation was and is false. AT&T and its agents, the Aggregator
 7
     Defendants, failed to obtain customer consent or obtain proper legal authority before allowing
 8
     third parties to use or access carrier customers’ real-time location information.
 9
            127.    AT&T admittedly did not seek customer consent directly. Instead, it maintained
10
     that the companies seeking to access customers’ real-time location data (such as Securus,
11
     Microbilt, and CerCareOne) were responsible for obtaining consent or legal authority for the
12
     information. 142
13
            128.    After improperly pushing its duty to obtain consent downstream, AT&T failed to
14
     confirm that the Aggregator Defendants and/or the Aggregator Defendants’ customers (such as
15
     Microbilt, Securus, and CerCareOne) obtained any customer consent or proper legal authority
16
     before granting them access to customer location.
17
            129.    In fact, the Aggregator Defendants’ customers routinely failed to obtain customer
18
     consent or legal authority.
19
            130.    For example, as AT&T admitted in 2018, Securus “did not in fact obtain customer
20
     consent before collecting customers’ location information.” 143 Instead, Securus required users to
21
     upload a document showing that they had legal authority to request a specific carrier customer’s
22
23
     140
         Joseph Cox, “Big Telecom Sold Highly Sensitive Customer GPS Data Typically Used for 911
24   Calls,” supra at 71.
     141
25       See, e.g., Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden
     (June 15, 2018), supra at 51.
26   142
         See, e.g., id.; Brian Krebs, “AT&T, Sprint, Verizon to Stop Sharing Customer Location Data
     with Third Parties,” KREBS ON SECURITY, supra at 49.
27   143
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
     2018), supra at 51.
28
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 1   real-time location information. Securus officials “confirmed … that Securus takes no steps to
 2   verify” that the uploaded document actually provided such legal authorization and failed to
 3   conduct “any review of surveillance requests.” 144
 4           131.   Indeed, Senator Wyden stated in his letter to AT&T that “[s]enior officials from
 5   Securus have confirmed… that it never checks the legitimacy of those uploaded documents to
 6   determine whether they are in fact court orders and has dismissed suggestions that it is obligated
 7   to do so.” 145 These documents did not even have to appear to be legitimate: federal authorities
 8   allege that Sheriff Hutcheson uploaded documents from his health insurance plan and a sheriff’s
 9   manual and was nonetheless granted access to nonconsenting individuals’ real-time location
10   data—including the location data of a judge—on the basis of those documents. 146
11           132.   Once any document was uploaded, all that a Securus customer had to do to access
12   a carrier customer’s real-time location data was check a box on the Securus portal that stated,
13   “[b]y checking this box, I hereby certify the attached document is an official document giving
14   permission to look up the location on this phone number requested.” 147 Once that box was
15   checked, the user clicked “Get Location” and Securus would use carrier-level location data to
16   immediately provide the longitude and latitude of the phone’s current location, as well as an
17   address. 148
18           133.   The immediate access to location information reveals that Securus never intended
19   to verify the legitimacy of purported legal authority before disclosing real-time location data.
20   Instead, Securus pushed responsibility even further down the chain and “relied upon law
21   enforcement’s representation that it had appropriate legal authority.” 149
22
23
24   144
         Letter from U.S. Senator Ron Wyden to Randall L. Stephenson (AT&T) (May 8, 2018), supra
25   at 32 (emphasis added).
     145
         Id. (emphasis added).
26   146
         Hutcheson Indictment at ¶ 22.
     147
         See id. at ¶ 6.
27   148
         See Hutcheson Indictment at ¶ 7.
     149
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
28
     2018), supra at 51.
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 1               134.   In other words, in the case of the Securus breaches, the responsibility to confirm
 2   authorization for real-time location tracking was passed down every rung of the chain: from
 3   AT&T to Location Smart, from LocationSmart to 3Cinteractive, from 3Cinteractive to Securus,
 4   from Securus to correctional facilities, and from those facilities down to individual officers.
 5               135.   By abdicating its responsibility in this manner and failing to implement effective
 6   controls against unauthorized access to location data, AT&T failed to protect its customers’
 7   sensitive location data, and instead benefited from its dissemination.
 8               136.   AT&T’s dereliction of its duty has had widespread impact. Securus had
 9   thousands of customers as of 2013, each of which—on information and belief—could request
10   access to AT&T customers’ real-time geolocation information. Upon information and belief,
11   none of those customers’ representations about consent or legal authority was ever verified.
12               137.   AT&T’s failures to protect its customers and obtain proper authorization before
13   disclosing location data are further exemplified by its admissions concerning Securus’ access to
14   its customers’ location data.
15               138.   In June 2018, AT&T Services, Inc.’s Executive Vice President, Timothy McKone,
16   wrote that “AT&T has never authorized the use of its customers data for the Securus web portal
17   service described in [Wyden’s] letter.” 150
18               139.   But this representation only exemplifies the magnitude of AT&T’s extreme
19   recklessness and knowing negligence. That Securus was able to use AT&T data on a wide scale
20   without AT&T’s authorization reveals that AT&T’s safeguarding of access to its customers’ real-
21   time location data and its system for obtaining and tracking customer approval before third-party
22   use was so lax, it was unaware of how the data was used and by whom.
23               140.   Securus’ ability to use AT&T data without authorization was not an isolated
24   incident, but instead just one example of AT&T’s pattern and practice of allowing unlawful
25   access to its customers’ sensitive real-time location information.
26
27
     150
           Id.
28
                                             – 34 –
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 1          141.    For example, CerCareOne allowed more than 250 bail bond companies and
 2   bounty hunters to use carrier data “tens of thousands of times to locate phones” – often without
 3   any consent from the customer. 151
 4          142.    Additionally, a reporter was able to obtain the precise location information of an
 5   individual—ultimately through Aggregator Defendant Zumigo’s access to cell carrier location
 6   data—without obtaining any documented consent from the targeted carrier customer. 152 The
 7   reporter personally obtained such consent, but that same consent was never itself verified,
 8   apparently, by either Zumigo or the individual’s cell carrier.
 9          143.    By providing the Aggregator Defendants direct access to customers’ location data
10   and allowing the Aggregator Defendants’ to resell that access to additional third parties, AT&T
11   abdicated its duty to get consent, instead allowing a chain of “consent handoffs” to develop.
12   This led to the formation a robust market for customers’ location data with no oversight by
13   AT&T, and a lack of proper consent or legal authority for such disclosures. This was in clear
14   dereliction of AT&T’s duty to its customers.
15          144.    As Senator Wyden explained, “[c]arriers are always responsible for who ends up
16   with their customers data—it’s not enough to lay the blame for misuse on downstream
17   companies.” 153 Senator Wyden stated that the carriers’ practices of attempting to delegate the
18   responsibility for obtaining consent “skirt[ed] wireless carrier’s legal obligation to be the sole
19   conduit by which the government conducts surveillance of Americans’ phone records[.]” 154 He
20   asserted that “[w]ireless carriers have an obligation to take affirmative steps to verify law
21   enforcement requests for customer information” and that absent such legal authority, federal law
22   permits the disclosure of customer location data to third parties only when the customer consents.
23
     151
         “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint Customer
24   Location Data for Years,” supra at 71.
     152
25       Joseph Cox, “I Gave a Bounty Hunter $300. Then He Located Our Phone,” supra at 57.
     153
         Joseph Cox, “Google Demanded That T-Mobile, Sprint Not Sell Google Fi Customers’
26   Location Data,” Motherboard (Jan. 11, 2019), available at
     https://www.vice.com/en_us/article/d3bnyv/google-demanded-tmobile-sprint-to-not-sell-google-
27   fi-customers-location-data.
     154
         Letter from U.S. Senator Ron Wyden to Chairman Ajit Pai (FCC) (May 8, 2018), supra at 36.
28
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 1   He described the carriers’ practice of pushing its obligation to get the required consent down to
 2   other third parties as “the legal equivalent of a pinky promise.” This “clear abuse” of the consent
 3   structure and requirement for genuine legal authority, he asserted, was “only possible because
 4   wireless carriers sell their customers’ private information to companies claiming to have
 5   consumer consent without sufficiently verifying those claims.” 155
 6           F.      Defendants’ Sale of Access to Customers’ Location Data Is Outrageous and
                     Harmful.
 7
             145.    Plaintiffs and many other AT&T customers have been harmed by AT&T’s failure
 8
     to properly protect their location data from unauthorized access, thereby disclosing Plaintiffs’
 9
     and customers’ legally protected information to the Aggregator Defendants and unknown
10
     additional other third parties.
11
             146.    Plaintiffs were emotionally distressed by the discovery that their location data was
12
     sold to the Aggregator Defendants and additional unknown third parties without their consent.
13
             147.    Not only has AT&T customers’ private location information been disclosed to
14
     unauthorized parties—including the Aggregator Defendants—but AT&T customers are also at
15
     substantial risk of additional, imminent future harm. Specifically, Plaintiffs and many other
16
     AT&T customers are at substantial risk of: (i) further disclosure of their personal information to
17
     additional third parties, (ii) disclosure of their personal information via a data breach, and (iii)
18
     disclosure of past location data already obtained by the Aggregator Defendants and/or additional
19
     unknown third parties.
20
             148.    As the FCC has recognized, the unauthorized disclosure of carrier customers’
21
     personal information “by any method invades the privacy of unsuspecting consumers and
22
     increases the risk of identity theft, harassment, stalking, and other threats to personal safety.” 156
23
     According to the FCC, “[t]he black market for [wireless customers’ proprietary network
24
     information] has grown exponentially with an increased market value placed on obtaining this
25
26   155
        Id.
     156
        Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
27   Implementation of the Telecommunications Act of 1996: Telecommunications Carriers Use of
     Customer Proprietary Network Info. & Other Customer Info., 22 F.C.C. Rcd. 6927 ¶ 46 (2007)
28
     (hereafter “2007 CPNI Order”).
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 1   data, and there is concrete evidence that the dissemination of this private information does inflict
 2   specific and significant harm on individuals, including harassment and the use of the data to
 3   assume a customer’s identity. The reality of this private information being disseminated is well-
 4   documented and has already resulted in irrevocable damage to customers.” 157
 5           149.    Senator Ron Wyden describes location tracking as a “national security and a
 6   personal safety nightmare.” 158
 7           150.    Congressman Frank Pallone, Jr. of New Jersey, Chairman of the House
 8   Committee on Energy and Commerce, called for an emergency hearing on Defendants’ practices
 9   in February 2019 and stressed the “grave consequences that unauthorized sharing of customer
10   location data could have for public safety and national security[.]” 159
11           151.    FCC Commissioner Geoffrey Starks stated in February 2019 that “[i]t is
12   absolutely chilling to think that a stranger can buy access to exactly where we are at any given
13   moment by tapping into the data on our phones without our consent. And, now I am hearing
14   allegations that consumers’ GPS data—data so accurate that it can pinpoint your location the
15   floor of a building you are in—is also available for sale. It isn’t difficult to imagine intrusive or
16   even downright dangerous uses of this data.” 160 Separately, he called the sale of customer
17   location data “a matter of public safety. . . . It isn’t difficult to imagine intrusive or even
18   downright dangerous uses of this data.” 161
19           152.    As the public reporting surrounding the sale of customer location data illustrates,
20   “as the data spreads out from the original source, being the [telecommunications providers], the
21   risk of abuse just dramatically increases. Not only is it ending up in the hands of bounty hunters,
22   but then of course those individuals might just spy on their girlfriends, as a source told [a
23
24   157
         2007 CPNI Order ¶ 39 (emphasis added).
     158
25       “I Gave a Bounty Hunter $300. Then He Located Our Phone,” Cyber Podcast, supra at 113.
     159
         Letter from U.S. Representative Frank Pallone, Jr. to Chairman Ajit Pai (FCC) (Feb. 19,
26   2019), attached hereto as Ex. H.
     160
         Ex. B. (email from Michael Scurato (FCC) to Joseph Cox (Motherboard) (Feb. 4, 2019)).
27   161
         Email from Michael Scurato (FCC) to Jon Brodkin (Ars Tecnica) (Feb. 13, 2010), attached
     hereto as Ex. I.
28
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 1   Motherboard reporter] is what happens among these people. Once a person has access to that
 2   data, they can—it appears—do whatever they want with it.” 162
 3          153.    AT&T customers, including Plaintiffs, are at substantial risk that their location
 4   information will be disclosed to dangerous third parties, including stalkers and/or domestic
 5   abusers. The use of location data by stalkers and domestic abusers is well-known and
 6   documented. A 2009 Justice Department report estimated that more than 25,000 adults in the
 7   U.S. are victims of GPS stalking each year, including by cell phone. 163
 8          154.    This risk is compounded by the fact that location targeting using carrier location
 9   data occurs surreptitiously and is invisible to the phone’s user. Users do not receive any alert or
10   notification that their location has been accessed. 164 Plaintiffs do not, and indeed cannot, know
11   how many and which third parties—in addition to the Aggregator Defendants—accessed their
12   sensitive location data. AT&T, the Aggregator Defendants, and the third parties with whom they
13   contract to sell Plaintiffs’ and Class members’ location data are the sole parties with access to
14   that information about whose data was sold, when, and to whom.
15          155.    The FCC has recognized that victims of cell carrier data breaches are at a
16   heightened risk when they are unaware that the breach has occurred. 165 Because Plaintiffs and
17   Class members are unable to identify all of the parties who purchased their real-time location
18   data through AT&T and its agents, they are unable to properly protect themselves.
19          156.     The risk of harm from Defendants’ massive dissemination of this highly sensitive
20   customer location information is further compounded by the inherent and recurring hazards that:
21                 i.       company employees will misuse the information; 166 and
22
     162
         “I Gave a Bounty Hunter $300. Then He Located Our Phone,” Cyber Podcast, supra at 113.
23   163
         Katrina Baum, Shannan Catalano, and Michael Rand, “Stalking Victimization in the United
     States,” Bureau of Justice Statistics, U.S. Department of Justice (Jan. 2009), available at
24   https://www.justice.gov/sites/default/files/ovw/legacy/2012/08/15/bjs-stalking-rpt.pdf.
     164
25       “I Gave a Bounty Hunter $300. Then He Located Our Phone,” Cyber Podcast, supra at 113.
     165
         2007 CPNI Order ¶¶ 26, 30.
26   166
         Megan Geuss, “AT&T Fined $25 Million After Call Center Employees Stole Customers’
     Data,” ARS TECHNICA, Apr. 8, 2015, available at https://arstechnica.com/tech-
27   policy/2015/04/att-fined-25-million-after-call-center-employees-stole-customers-data/. See also
     Joseph Cox, “Snapchat Employees Abused Data Access to Spy on Users,” MOTHERBOARD, May
28
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 1                 ii.       security vulnerabilities will allow data thieves to steal the information. 167
 2          157.      Additionally, AT&T represented to its customers that it would “not sell [their]
 3   personal information to anyone for any purpose. Period.” 168 Plaintiffs and other AT&T
 4   customers relied on AT&T’s misrepresentations, believing that they were protected from the
 5   risks associated with unauthorized access to their real-time location data.
 6          158.      Plaintiffs and AT&T wireless customers are at a continuing risk of access and
 7   misuse of their historical location data. This location data can be personally identifying on its
 8   own or when combined with other information, such as customers’ cell phone numbers, which
 9   are used in the location data request process. AT&T customers are therefore at a continuing,
10   substantial risk that their historical location data will be accessed and their privacy further
11   violated due to the fact that Defendants have already allowed the data to be breached and
12   accessed by countless unknown third parties.
13          G.        The Sale of Location Data Violates Reasonable Expectations of Privacy and
                      Is Highly Offensive.
14
            159.      Plaintiffs’ reasonable expectation of privacy in their location data is enshrined in
15
     federal, state, and common law and reflected in widespread societal norms and Supreme Court
16
     jurisprudence.
17
            160.      As recently observed by the Supreme Court, cell phone location data “present[s]
18
     even greater privacy concerns than the GPS monitoring of a vehicle … [A] cell phone—almost a
19
     ‘feature of human anatomy,’ tracks nearly exactly the movements of its owner. While individuals
20
     regularly leave their vehicles, they compulsively carry cell phones with them all the time. A cell
21
     phone faithfully follows its owner beyond public thoroughfares and into private residences,
22
23
24   23, 2019, available at https://www.vice.com/en_us/article/xwnva7/snapchat-employees-abused-
25   data-access-spy-on-users-snaplion.
     167
         Andrew Liptak, “Security Researchers Found Vulnerabilities at AT&T, T-Mobile, and Sprint
26   That Could Have Exposed Customer Data,” THE VERGE, Aug. 25, 2018, available at
     https://www.theverge.com/2018/8/25/17781906/att-tmobile-sprint-security-vulnerabilities-
27   customer-information.
     168
         See Ex. A (AT&T Privacy Policy).
28
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 1   doctors offices, political headquarters, and other potentially revealing locales.” Carpenter v.
 2   United States, 138 S. Ct. 2206, 2218 (2018).
 3          161.    A 2013 study, for example, found that 79% of people between the ages of 18 and
 4   44 have their smart phones with them 22 hours out of the day. 169 Twenty-three percent of adults
 5   and 40 percent of teenagers say they use a mobile device within five minutes of waking up. 170
 6   Low-income Americans are more likely to be smart phone dependent because their smart phone
 7   is more likely to be their primary or only method to access the Internet. As of 2019, 26% of
 8   adults living in households earning less than $30,000 a year own a smart phone but do not have
 9   broadband internet at home (compared to only 5% of those living in households earning
10   $100,000 or more). 171
11          162.    Due to the ubiquity of cell phones in individuals’ lives, cell phone location data
12   “provides an intimate window into a person’s life, revealing not only his particular movements,
13   but through them his ‘familial, political, professional, religious, and sexual associations.’”
14   Carpenter, 138 S. Ct. at 2217. “These location records hold for many Americans the ‘privacies
15   of life.’” Id. (quotation marks and citation omitted). Plaintiffs and similarly situated carrier
16   customers therefore have a reasonable expectation of privacy in such data.
17          163.    Plaintiffs’ expectations of privacy have long been protected by the law. Invasion
18   of privacy has been recognized as a common law tort for more than a century. In Griswold v.
19   Connecticut, 381 U.S. 479 (1965), the Supreme Court confirmed the primacy of privacy rights,
20   explaining that the Constitution operates in the shadow of a “right to privacy older than the Bill
21   of Rights.”
22
23
     169
         Allison Stadd, “79% of People 18-44 Have Their Smartphones With Them 22 Hours a Day,”
24   AD WEEK (April 2, 2013), available at https://www.adweek.com/digital/smartphones/.
     170
25       Niraj Chokshi, “Your Kids Think You’re Addicted to Your Phone,” THE NEW YORK TIMES
     (May 29, 2019), available at https://www.nytimes.com/2019/05/29/technology/cell-phone-
26   usage.html.
     171
         Monica Anderson, “Digital Divide Persists Even as Lower-Income Americans Make Gains in
27   Tech Adoption,” PEW RESEARCH CENTER (May 7, 2019), available at
     https://www.pewresearch.org/fact-tank/2019/05/07/digital-divide-persists-even-as-lower-
28
     income-americans-make-gains-in-tech-adoption/.
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 1           164.       In Carpenter, the Supreme Court specifically recognized the reasonable
 2   expectation of privacy a person has in the location information generated by her cell phone.
 3   Carpenter, 138 S. Ct. 2206. The Court held that the government’s warrantless access to
 4   customer location data invades an individual’s “reasonable expectation of privacy in the whole
 5   of his physical movements.” Id. at 2219.
 6           165.       California also recognizes Plaintiffs’ expectations of privacy. California amended
 7   its constitution in 1972 to specifically enumerate a right to privacy in its very first section. See
 8   Cal. Const. Art. I, § 1. The California constitutional right of privacy is intended to protect
 9   Californians from Defendants’ “misusing information gathered for one purpose in order to serve
10   other purposes[.]” 172
11           166.       The expectation of privacy in cell phone location data has been repeatedly
12   reiterated by federal agencies. Indeed, the FCC has stated that it “fully expect[s] carriers to take
13   every reasonable precaution to protect the confidentiality of proprietary or personal customer
14   information.” 173
15           167.       FCC Commissioner Jessica Rosenworcel, in a letter to AT&T Communications
16   CEO John Donovan regarding AT&T’s sale of access to its customers’ local data, stated that
17   “[r]eal-time location information is sensitive data deserving the highest level of privacy
18   protection.” 174
19           168.       The Federal Trade Commission (“FTC”) has also recognized consumers’
20   expectation of privacy in their location data. In 2016, the FTC entered into a settlement
21   agreement with a mobile advertising company charged with deceptively tracking the location
22
23
24
     172
25       Ballot Pamp., Proposed Amends. to Cal. Const. with arguments to voters, Gen. Elec. (Nov. 7,
     1972), p. 27.
26   173
         2007 CPNI Order ¶ 64.
     174
         Letter from Commissioner Jessica Rosenworcel (FCC) to John Donovan (AT&T) (May 1,
27   2019), available at https://www.documentcloud.org/documents/5985428-FCC-Commissioner-
     Rosenworcel-letters-to-Telecom.html.
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 1   information of hundreds of millions of people with their knowledge or consent. 175 The company
 2   agreed to pay a $950,000 civil penalty and institute a robust comprehensive privacy program.
 3                 i.        Plaintiffs’ Expectations Reflect Widely Held Social Norms.

 4          169.     A reasonable person would believe that Defendants’ conduct described herein
 5   violates Plaintiffs’ expectations of privacy.
 6          170.     According to a poll by the Pew Research Center, 93% of adults believe that being
 7   in control of who can get information about them is important, and 90% believe that controlling
 8   what information is collected about them is important. 176
 9          171.     In a 2019 poll about location data, more than 83% of Americans responded that it
10   was “never” okay for “companies that collect [their] location data to sell or share that data with
11   third parties.” 177 More than 14% responded that sharing location data was only permissible if
12   the customer “was asked for, and gave, explicit consent (opted in).” 178 Respondents’ top
13   concerns regarding the collection and use of location data included: (1) general loss of privacy
14   (61%); (2) risk of breach or that data could fall into a hacker’s or thief’s hands (58%); (3)
15   unauthorized use by law enforcement or the government (43%); use by companies for profiling
16   (48%); and (5) personal safety risks, such as use by a stalker or ex-partner (43%). 179
17          172.        Americans do not approve of observation without consent: 88% say it is important
18   that they not have someone watch or listen to them without their permission. 180
19
20
     175
21       Mobile Advertising Network InMobi Settles FTC Charges It Tracked Hundreds of Millions of
     Consumers’ Locations Without Permission, Federal Trade Commission (June 22, 2016),
22   available at https://www.ftc.gov/news-events/press-releases/2016/06/mobile-advertising-
     network-inmobi-settles-ftc-charges-it-tracked.
23   176
         Mary Madden and Lee Rainie, “Americans’ Attitudes About Privacy, Security and
     Surveillance,” PEW RESEARCH CENTER (May 20, 2015), available at
24   https://www.pewinternet.org/2015/05/20/americans-attitudes-about-privacy-security-and-
25   surveillance/.
     177
         “Some Questions About Location Sharing,” Consumer Action (Feb. 8 to March 4, 2019),
26   available at https://www.consumer-action.org/downloads/Location-tracking-survey-2019.pdf.
     178
         Id.
27   179
         Id.
     180
         Id.
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 1           173.      A 2016 survey found that more Americans are concerned about not knowing how
 2   the personal information collected about them is used than are concerned about losing their
 3   principal source of income, being a victim of crime in their community, climate change, or
 4   access to affordable health care. 181 Their top cause of concern “is companies collecting and
 5   sharing personal information with other companies” – the very conduct alleged here.
 6           174.         A 2016 Pew Research Poll found that “[s]ome of the most strongly negative
 7   reactions” it received to questions about privacy “came in response to scenarios involving the
 8   sharing of personal location data.” 182
 9           175.      Public outcry following the exposure of Defendants’ practices, including
10   responses from members of the United States Congress, reflect society’s expectation of privacy
11   in location data. In a letter from fifteen sitting United States Senators calling for an investigation
12   into Defendants’ practices, the Senators stated, “Americans expect that their location data will be
13   protected.” 183
14                  ii.        Federal Law Requires AT&T and Its Agents to Protect Customers’
                               Location Data.
15
             176.      Recognizing the sensitivity of data collected by cell carriers, Congress, through
16
     the FCA, requires telecommunications providers—including wireless cell carriers, such as
17
     AT&T—to protect their customers’ sensitive personal information to which they have access as a
18
     result of their unique position as telecommunications carriers. 184
19
20
21
22
23   181
         “Study Finds More Americans Concerned About Data Privacy Than Losing Their Income,”
     NATIONAL CYBER SECURITY ALLIANCE (Jan. 28, 2016), available at
24   https://staysafeonline.org/press-release/americans-concerned-data-privacy/.
     182
25       Mary Madden and Lee Rainie, Privacy and Information Sharing, PEW RESEARCH CENTER
     (Jan. 14, 2016), available at https://www.pewinternet.org/2016/01/14/privacy-and-information-
26   sharing/.
     183
         Letter from United States Senators Ron Wyden et al. to Joseph J. Simons (FTC) and Ajit Pai
27   (FCC) (Jan. 24, 2019), supra at 70.
     184
         47 U.S.C. § 222.
28
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 1           177.    While the FCA facilitates nationwide deployment of E911 technology, Congress
 2   expressly protected the privacy of customer information. 185 In doing so, Congress specifically
 3   included protection for the privacy of location information pertaining to cell phone users.
 4           178.    Section 222 of the FCA, which became part of the Act in 1996, establishes
 5   carriers’ duty to protect the privacy and security of information about their customers. Likewise,
 6   Section 201(b) of the Act requires AT&T’s practices related to the collection of information from
 7   its customers to be “just and reasonable” and declares unlawful any practice that is unjust or
 8   unreasonable. 186
 9           179.    Congress enacted Section 222 to “define[] three fundamental principles to protect
10   all consumers. These principles are: (1) the right of consumers to know the specific information
11   that is being collected about them; (2) the right of consumers to have proper notice that such
12   information is being used for other purposes; and (3) the right of consumers to stop the reuse or
13   sale of that information.” 187 The FCA represents Congress’s judgment that carrier customers’
14   proprietary network information, including location data, should remain private.
15           180.    Pursuant to the FCA, AT&T has a duty to protect the confidentiality of certain
16   types of customer data, including precise location data. 188 This duty extends to data that AT&T
17   provides to the Aggregator Defendants. 189 Under the FCA, AT&T is not just liable for its own
18   violations of the Act, but also for violations that it “cause[s] or permit[s].” 190
19
20   185
         See P.L. No. 106–81(2), § 5, 113 Stat. 1288 (Oct. 26, 1999) (codified at 47 U.S.C. § 222).
     186
         47 U.S.C. § 201(b).
21   187
          H.R. Conf. Rep. No. 458, 104th Cong., 2d Sess. 204 (1996) (Joint Explanatory Statement of
22   the Committee of Conference); see also H.R. Rep. No. 204, 104th Cong., 1st Sess. 91 (1995); id.
     at 90 (explaining that section 222 balances “the need for customers to be sure that personal
23   information that carriers may collect is not misused” with customers’ expectation that “the
     carrier’s employees will have available all relevant information about their service”).
24   188
         47 U.S.C. § 222(a).
     189
         2007 CPNI Order ¶ 39.
25   190
         See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
26   permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful,
     or shall omit to do any act, matter, or thing in this chapter required to be done such common
27   carrier shall be liable to the person or persons injured thereby for the full amount of damages
     sustained in consequence of any such violation of the provisions of this chapter[.]”)
28
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 1          181.    One type of data that carriers must protect is called customer proprietary network
 2   information (“CNPI”). CPNI is defined as, inter alia, “information that relates to the . . .
 3   location . . . of a telecommunications service subscribed to by any customer of a
 4   telecommunications carrier, and that is made available to the carrier by the customer solely by
 5   virtue of the carrier-customer relationship.” 191
 6          182.    The FCA and the FCC designate location information as CPNI. 192 AT&T receives
 7   Plaintiffs’ and Class members’ location data by virtue of its provision of telecommunications
 8   services to Plaintiffs and Class members. 193 As established in Section C, AT&T has
 9   implemented technology that causes location data to be stored on its customers’ device, where it
10   is made available to AT&T. 194 This location information is collected from Plaintiffs’ and other
11   AT&T’s subscribers’ mobile devices at AT&T’s direction, and AT&T and the Aggregator
12   Defendants can access and control the information. 195 The FCC has warned “that location
13   information in particular can be very sensitive customer information.” 196
14          183.    AT&T has breached its duty to protect customers’ CPNI by knowingly allowing
15   countless third parties access to the location data. AT&T has failed in its duty to ensure that
16   access to CPNI is only granted pursuant to the requirements of the FCA, and that the data
17   otherwise be safeguarded against improper use. AT&T’s failure to provide proper notice, obtain
18
19
20   191
         47 U.S.C. § 222(h)(1).
     192
21       47 U.S.C. § 222(h)(1)(A); see also Declaratory Ruling, In the Matter of Implementation of the
     Telecommunications Act of 1996: Telecommunications Carriers’ Use of Customer Proprietary
22   Network Info. & Other Customer Info., 28 F.C.C. Rcd. 9609 ¶ 22 (2013) (“The location of a
     customer's use of a telecommunications service also clearly qualifies as CPNI.”);
23   Carpenter, 138 S. Ct. at 2272 (Gorsuch, J., dissenting) (“47 U.S.C. § 222 designates a
     customer’s cell-site location information as “customer proprietary network information”
24   (CPNI)[.]”
     193
25       47 U.S.C. § 222(h)(1).
     194
         Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
26   Telecommunications Carriers’ Use of Customer Proprietary Network Info. & Other Customer
     Info., 28 F.C.C. Rcd. 9609 ¶ 26 (2013).
27   195
         Id. at ¶ 16.
     196
         Id. at n. 54.
28
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 1   proper consent, and safeguard Plaintiffs’ and similarly situated customers’ location data violates
 2   the FCA and its corresponding regulations.
 3           184.    FCC commissioners have publicly stated that AT&T’s sale of customers’ precise
 4   location data violates the FCA. Current FCC commissioner Geoffrey Starks confirmed that the
 5   sale of location data as reported in 2018 and 2019 would constitute a violation of the law: “Time
 6   and again in recent months, we’ve read about people’s location information from use of mobile
 7   phones being for sale . . . If the allegations are true, this is against the law and violates the
 8   [FCC’s] rules. It’s outrageous and needs to stop.” 197 Likewise, FCC Commissioner Jessica
 9   Rosenworcel stated that, “[s]elling location data without customers’ consent is a violation of
10   [FCC] rules.” 198
11           185.    Pursuant to the FCA, the FCC has developed comprehensive rules concerning
12   AT&T’s obligations under its duty to protect customers’ CPNI. 199 These rules require, among
13   other things, the proper notice carriers must provide and the consent they must obtain before
14   using, selling, or disclosing their customers’ proprietary data, and the steps they must take to
15   safeguard the proprietary data. As alleged in detail below, AT&T has failed to abide by the
16   FCC’s rules concerning notice, consent, and proper safeguarding requirements.
17                           a. The FCA Requires Defendants to Provide Plaintiffs Proper Notice
                                Before Disclosing Their Location Data.
18
             186.    The FCA requires AT&T to provide “individual notice” to customers before
19
     seeking their approval to “use, disclose, or permit access to [their] CPNI.” 200
20
21
22
23   197
         Jon Brodkin, “Ajit Pai’s Plan for Phone Location Data Never Mentions the Word ‘Privacy,’”
     ARS TECHNICA (Mar. 14, 2019), available at https://arstechnica.com/tech-
24   policy/2019/03/despite-carriers-selling-911-location-data-fcc-ignores-privacy-in-new-rules/.
     198
25       Jon Brodkin, “Selling 911 Location Data is Illegal—US Carriers Reportedly Did It
     Anyway,’” ARS TECHNICA (Feb. 13, 2019), available at https://arstechnica.com/tech-
26   policy/2019/02/att-t-mobile-sprint-reportedly-broke-us-law-by-selling-911-location-data/.
     199
         See 47 C.F.R. § 64.2001(“The purpose of the rules in this subpart is to implement section 222
27   of the Communications Act of 1934, as amended, 47 U.S.C. 222.”).
     200
         47 C.F.R. § 64.2008(b).
28
                                           – 46 –
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 1          187.    The individual notice required by the FCA must “provide sufficient information to
 2   enable the customer to make an informed decision as to whether to permit a carrier to use,
 3   disclose, or permit access to, the customer’s CPNI.” 201
 4          188.    This notice must include, inter alia, “the specific entities that will receive the
 5   CPNI, describe the purposes for which CPNI will be used, and inform the customer of his or her
 6   right to disapprove those uses, and deny or withdraw access to CPNI at any time.” 202 And, “[t]he
 7   notification must be comprehensible and must not be misleading.” 203
 8          189.    AT&T failed to provide proper, individual notice to Plaintiffs and the Class before
 9   using, disclosing, or permitting access to their real-time location CPNI by the Aggregator
10   Defendants and other third parties.
11                           b. The FCA Requires Defendants to Obtain Customers’ Knowing
                                Consent Before Using, Disclosing, or Permitting Access to
12                              Location Data.
13          190.    The FCA gives customers certain rights to control use of and access to their
14   CPNI. The statute generally forbids a carrier to “use, disclose, or permit access to” CPNI, except
15   in limited circumstances. 204
16          191.    A carrier may only use, disclose, or permit access to customers’ CPNI: (1) as
17   required by law; (2) with the customer’s approval; or (3) in its provision of the
18   telecommunications service from which such information is derived, or services necessary to or
19   used in the provision of such telecommunications service. 205 Beyond such use, “the
20   Commission’s rules require carriers to obtain a customer’s knowing consent before using or
21   disclosing CPNI.” 206
22          192.    The knowing consent requirement extends to AT&T’s sharing of CPNI with the
23   Aggregator Defendants. In a 2007 Order, the FCC recognized the risk associated with sharing
24   customer CPNI with third parties. Specifically, the Commission stated:
25   201
         47 C.F.R. § 64.2008(c).
26   202
         47 C.F.R. § 64.2008(c)(2)(emphasis added).
     203
         47 C.F.R. § 64.2008(c)(4).
27   204
         47 U.S.C. § 222(c)(1).
     205
         47 U.S.C. § 222.
28   206
         2007 CPNI Order ¶ 8 (emphasis added).
                                             – 47 –
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                       We find that there is a substantial need to limit the sharing of CPNI
 1
                       with others outside a customer’s carrier to protect a customer’s
 2                     privacy. . . Specifically, we find that once the CPNI is shared with
                       a joint venture partner or independent contractor, the carrier no
 3                     longer has control over it and thus the potential for loss of this data
                       is heightened. We find that a carrier’s section 222 duty to protect
 4                     CPNI extends to situations where a carrier shares CPNI with its
 5                     joint venture partners and independent contractors. 207

 6          193.       The Order further found that “by sharing CPNI with joint venture partners and
 7   independent contractors, it is clear that carriers increase the odds of wrongful disclosure of this
 8   sensitive information, and before the chances of unauthorized disclosure are increased, a
 9   customer’s explicit consent should be required.” 208
10          194.       On information and belief, AT&T did not obtain such consent before disclosing
11   Plaintiffs’ and customers’ CPNI to the Aggregator Defendants, nor did AT&T even put the
12   Plaintiffs on notice that their CPNI would be sold to the Aggregator Defendants.
13          195.       In addition to failing to obtain customers’ consent before sharing their location
14   data with the Aggregator Defendants, AT&T also failed to obtain consent before allowing the
15   Aggregator Defendants to share the data with additional third parties. Instead, AT&T — by its
16   own admission—impermissibly abdicated that responsibility and relied upon an illegal and
17   ineffective, trust-based model to secure customer consent.
18          196.       AT&T admits that it uses the Aggregator Defendants to “facilitate” the sale of its
19   customers’ location data and states that it requires the Aggregator Defendants to make their
20   customers (such as Securus) obtain customer consent. 209 However, the plain text of the FCA and
21   its implementing regulations requires the carrier to obtain a customer’s knowing consent before
22   that customer’s CPNI is used or disclosed by any third parties, including the Aggregator
23   Defendants. 210
24
25
26   207
         Id. ¶ 39.
     208
         Id. ¶ 46 (emphasis added).
27   209
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
     2018), supra at 51.
28   210
         47 U.S.C. § 222(c)(1); 2007 CPNI Order ¶ 8.
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 1           197.     After improperly pushing its duty to obtain consent downstream, AT&T failed to
 2   confirm that the Aggregator Defendants and the Aggregator Defendants’ customers (such as
 3   Microbilt, Securus, and CerCareOne) were obtaining consent or proper legal authority before
 4   granting them access to customer location.
 5           198.     In fact, the Aggregator Defendants’ customers were failing to obtain consent or
 6   legal authority before accessing customer CPNI.
 7           199.     In 2018, AT&T admitted that it knew that Securus “did not in fact obtain customer
 8   consent before collecting customers’ location information.” 211 In a letter to the FCC, Senator
 9   Wyden stated that Securus officials “confirmed… that Securus takes no steps to verify” judicial
10   authorization for real-time location surveillance and failed to conduct “any review of surveillance
11   requests.” 212 Indeed, Senator Wyden stated in a letter to AT&T that “[s]enior officials from
12   Securus have confirmed… that it never checks the legitimacy of those uploaded documents to
13   determine whether they are in fact court orders and has dismissed suggestions that it is obligated
14   to do so.” 213
15           200.     In the case of Securus, all anyone needed to do to access a carrier customer’s
16   location data was check a box on the Securus portal that stated, “[b]y checking this box, I hereby
17   certify the attached document is an official document giving permission to look up the location
18   on this phone number requested.” 214 Once that box was checked, the user clicked “Get
19   Location” and Securus would use the carrier-level location data to immediately provide the
20   longitude and latitude of the phone’s current location, as well as an address. 215 This was the case
21   even when the documents purporting to show “legal authority” were absurdly deficient on their
22
23
24   211
         See, e.g., Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden
25   (June 15, 2018), supra at 51 (emphasis added).
     212
         Letter from U.S. Senator Ron Wyden to Chairman Ajit Pai (FCC) (May 8, 2018), supra at 36.
26   213
         Letter from U.S. Senator Ron Wyden to Randall L. Stephenson (AT&T) (May 8, 2018), supra
     at 32.
27   214
         See Hutcheson Indictment at ¶ 6.
     215
         Id. at ¶ 7.
28
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 1   face, such as was the case with former Sheriff Hutcheson, who uploaded inserts from his car
 2   insurance manual as “legal authority” for phone tracking. 216
 3           201.    Rather than verify consent or legal authority itself, Securus passed the
 4   responsibility even further down the chain and “relied upon law enforcement’s representation
 5   that it had appropriate legal authority[.]” 217
 6           202.    In other words, in the case of Securus, the responsibility to confirm that a cell
 7   carrier customer had consented to real-time location tracking was pushed down every rung of the
 8   chain: from AT&T to Location Smart, from LocationSmart to 3Cinteractive, from 3Cinteractive
 9   to Securus, from Securus to correctional facilities, and from those facilities down to individual
10   officers. Predictably, this system failed to protect AT&T’s customers’ sensitive location data.
11   AT&T is responsible for this failure.
12           203.    Securus was not an isolated incident, but instead, just one example of Defendants’
13   pattern and practice of failing to assure that any consent or legal authority existed before it
14   allowed third parties to use or access customers’ CPNI.
15           204.    For example, CerCareOne allowed more than 250 bail bond companies and
16   bounty hunters to use carrier data “tens of thousands of times to locate phones” – often without
17   any consent from the customer. 218
18           205.    Additionally, a reporter was able to obtain the precise location information of an
19   individual—ultimately through Aggregator Defendant Zumigo’s access to cell carrier location
20   data—without obtaining any documented consent from the targeted carrier customer. 219 While
21   the reporter personally obtained such consent, on information and belief, that consent was in no
22   way verified by Zumigo or the individual’s cell carrier.
23
24
     216
25       Id. at ¶ 22.
     217
         Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron Wyden (June 15,
26   2018), supra at 51.
     218
         Joseph Cox, “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint
27   Customer Location Data for Years,” supra at 71.
     219
         Joseph Cox, “I Gave a Bounty Hunter $300. Then He Located Our Phone,” supra at 57.
28
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 1          206.    In addition to failing to obtain the consent required by the FCA, AT&T also failed
 2   to implement a system that could accurately track consent, as required by the FCA.
 3          207.    In order to protect customers’ rights under the FCA, the FCC has adopted rules
 4   “designed to ensure that telecommunications carriers establish effective safeguards to protect
 5   against unauthorized use or disclosure of CPNI.” 220 The FCA requires carriers to “implement a
 6   system by which the status of a customer’s CPNI approval can be clearly established prior to the
 7   use of CPNI.” 221 Carriers must “design their customer service records in such a way that the
 8   status of a customer’s CPNI approval can be clearly established.” 222 The FCC’s rules also
 9   “require carriers to maintain records that track access to customer CPNI records.” 223 Carriers
10   must “maintain a record of all instances where CPNI was disclosed or provided to third parties,
11   or where third parties were allowed access to CPNI.” 224
12          208.    Upon information and belief, AT&T has failed to implement such a system.
13          209.    By providing the Aggregator Defendants direct access to customers’ location data,
14   AT&T allowed a chain of handoffs to develop, leading to a robust market for customers’ location
15   data with no oversight by AT&T and continuous violations of AT&T’s duties under the FCA to
16   obtain knowing consent, customer opt-in, or proper legal authority before disclosing its
17   customers’ CPNI to third parties.
18                         c. Defendants Are Required to Safeguard Customers’ Location Data.

19          210.    AT&T has also breached its duty to safeguard Plaintiffs’ and Class Members’

20   CPNI from data breaches, in violation of Section 222(a) and Section 201(b) of the FCA.

21          211.    In 2007, the FCC “[made] clear that carriers’ existing statutory obligations to

22   protect their customers’ CPNI include[s] a requirement that carriers take reasonable steps, which

23
24
25   220
         2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c).
26   221
         2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
     222
         2007 CPNI Order ¶ 9.
27   223
         Id.
     224
         Id.; see also 47 C.F.R. § 64.2009(c).
28
                                         – 51 –
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 1   may include encryption, to protect their CPNI databases from hackers and other unauthorized
 2   attempts by third parties to access CPNI.” 225
 3          212.    LocationSmart’s failure to properly secure its API and prevent unauthorized
 4   access to customer location data through the demo publicly available on its website is an
 5   additional breach of the carrier’s duty to safeguard customers’ CPNI. AT&T is responsible for
 6   this breach because LocationSmart was operating as AT&T’s agent and/or vendor. 226
 7          213.    Additionally, AT&T and LocationSmart’s failure to protect its customers’ data—
 8   thereby resulting in the data becoming accessible over the public internet—is an unjust and
 9   unreasonable practice under Section 201(b) of the FCA. 227
10          214.    The FCC also requires AT&T to inform customers – and law enforcement –
11   “whenever a security breach results in that customer’s CPNI being disclosed to a third party
12   without that customer’s authorization.” 228 This requirement extends beyond hacking to any
13   unauthorized disclosure. On information and belief, AT&T has failed to inform Plaintiffs that
14   their CPNI was disclosed to the Aggregator Defendants or any other relevant third parties.
15          215.    In adopting this requirement, the FCC rejected the argument that it “need not
16   impose new rules about notice to customers of unauthorized disclosure because competitive
17   market conditions will protect CPNI from unauthorized disclosure.” 229
18          216.    Instead, the FCC found that “[i]f customers and law enforcement agencies are
19   unaware of [unauthorized access], unauthorized releases of CPNI will have little impact on
20   carriers’ behavior, and thus provide little incentive for carriers to prevent further unauthorized
21   releases. By mandating the notification process adopted here, we better empower consumers to
22   make informed decisions about service providers and assist law enforcement with its
23   investigations. This notice will also empower carriers and consumers to take whatever ‘next
24
25   225
         2007 CPNI Order ¶ 36 (citation omitted).
26   226
         Id. at ¶ 39; see also 47 U.S.C. § 217.
     227
         See In the Matter of Terracom, Inc. & Yourtel Am., Inc., 29 F.C.C. Rcd. 13325 ¶ 32 (2014).
27   228
         2007 CPNI Order at ¶ 26; see also 47 C.F.R § 64.2011(c).
     229
         2007 CPNI Order ¶ 30.
28
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 1   steps’ are appropriate in light of the customer’s particular situation.” 230 The FCC specifically
 2   recognized that this notice could allow consumers to take precautions or protect themselves “to
 3   avoid stalking or domestic violence.” 231
 4           217.     But even after documents confirmed that AT&T customers’ location data had been
 5   accessed by CerCarOne’s clients, 232 AT&T stated in February 2019, in a response to Senator
 6   Wyden’s office, that it had not “identified any use of location information where the location
 7   aggregator or another third party obtained AT&T location information without prior customer
 8   consent.” 233 This statement was untrue.
 9           218.     AT&T failed in its duty to safeguard its customers’ CPNI from breaches and, upon
10   information and belief, has failed to properly inform affected customers of such breaches when
11   they occurred.
12                           d. Defendants Are Prohibited from Selling Customers’ E911 A-GPS
                                Data for Commercial Use.
13
             219.     AT&T failed to protect customers’ A-GPS data from unauthorized commercial
14
     use.
15
             220.     When the FCC authorized telecommunication carriers, including AT&T, to use A-
16
     GPS technology for E911 purposes, it required the carriers to certify that “any data associated
17
     with the NEAD may not be used for any non-911 purpose, except as otherwise required by
18
     law.” 234
19
             221.     While the collection and use of A-GPS data was allowed under the E911 and
20
     public safety exceptions of the FCA, any other use would violate the FCA and its corresponding
21
     regulations.
22
23
24
     230
25       Id.
     231
         Id. at n. 100.
26   232
         Joseph Cox, “Hundreds of Bounty Hunters Had Access to AT&T, T-Mobile, and Sprint
     Customer Location Data for Years,” supra at 71.
27   233
         Letter from Timothy P. McKone to U.S. Senator Ron Wyden (Feb. 15, 2019), supra at 7.
     234
         NEAD Implementation Order ¶ 13 (emphasis added).
28
                                           – 53 –
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 1          222.      As industry documents confirm, AT&T allows bounty hunters, bail bondsmen,
 2   and other third parties to access customers’ precise, real-time A-GPS data. 235
 3          223.      This A-GPS data is data associated with the NEAD, and thus commercial sale of
 4   the data violates federal law.
 5          224.      In a letter to AT&T Communications CEO John Donovan, FCC Commissioner
 6   Jessica Rosenworcel stated, “[u]nder federal law, A-GPS data included in the [NEAD] Database
 7   for enhanced 911 services may not be used for any other purpose.” 236
 8          225.      This commercialization of data associated with the NEAD is in direct violation of
 9   FCC regulations.
10                 iii.        AT&T Has Acknowledged Plaintiffs’ Right to Privacy in their
                               Proprietary Information.
11
            226.          AT&T recognizes that its customers, including Plaintiffs, have an expectation of
12
     privacy in their proprietary data.
13
            227.      As AT&T admits to its customers, “It is your right and our duty under federal law
14
     to protect the confidentiality of your CPNI.” 237
15
            228.      AT&T has also previously faced an FCC enforcement action, and paid a $25
16
     million civil penalty, for violations of customers’ privacy. 238 In 2015, the FCC found that AT&T
17
     failed to properly protect the confidentiality of almost 280,000 customers’ CPNI in connection
18
     with data breaches at AT&T call centers in Mexico, Columbia, and Philippines. 239 AT&T
19
     employees had improperly used login credentials to access customer accounts and access
20
21
22   235
         “Big Telecom Sold Highly Sensitive Customer GPS Data Typically Used for 911 Calls,”
     supra at 71.
23   236
         Letter from Commissioner Jessica Rosenworcel to John Donovan (CEO AT&T
     Communications) (May 1, 2019), available at
24   https://www.documentcloud.org/documents/5985428-FCC-Commissioner-Rosenworcel-letters-
25   to-Telecom.html.
     237
         “Customer Proprietary Network Information (CPNI),” AT&T, available at
26   https://about.att.com/sites/privacy_policy/rights_choices?_gl=1*8s6v9t*_gcl_dc*R0NMLjE1NT
     QxMzU4MTEuQ0pqNHhJR25yLUVDRlZIOHN3b2R6RWNJLWc.#cpni.
27   238
         In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015).
     239
         Id. at ¶ 1.
28
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 1   customer information that could be used to unlock the customers’ devices. 240 The employees
 2   then sold the information they obtained from the breaches to a third party. 241
 3           229.     The FCC concluded that AT&T’s “failure to reasonably secure customers’
 4   proprietary information violates a carrier’s statutory duty under Communications Act to protect
 5   that information, and also constitutes an unjust and unreasonable practice in violation of the
 6   Act.” 242
 7           230.     The FCC stressed that the FCA is intended to “ensure that consumers can trust
 8   that carriers have taken appropriate steps to ensure that unauthorized persons are not accessing,
 9   viewing or misusing their personal information.” 243 It stressed its expectation that
10   “telecommunications carriers such as AT&T… take ‘every reasonable precaution’ to protect their
11   customers’ data[.]” 244
12           231.     As a condition of its stipulated Consent Decree, AT&T agreed to develop and
13   implement a compliance plan to ensure appropriate safeguards to protect consumers against
14   similar breaches by improving its privacy and data security practices. 245
15           232.     This FCC enforcement action underscores AT&T’s familiarity with the sensitive
16   nature of customer CPNI, and its duties to protect and safeguard that data.
17           H.       AT&T’s Misrepresentations and Omissions Concerning the Sale of Customer
                      Location Data.
18
             233.     AT&T’s false representations concerning sale of access to Plaintiffs’ and Class
19
     members’ real-time location data compounds the outrageousness of its conduct.
20
             234.     AT&T’s Privacy Policy, and the “Privacy Commitments” included therein, falsely
21
     represents and fails to disclose material information about its routine sale of access to customers’
22
     location data.
23
24
25   240
         Id. at ¶¶ 7, 11.
26   241
         Id. at ¶ 1.
     242
         Id. at ¶ 2.
27   243
         Id.
     244
         Id.
28   245
         Id. at ¶¶ 2, 17-18, 21.
                                            – 55 –
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 1          235.    In its Privacy Policy, AT&T promises not to sell customers’ personal information
 2   and to protect customers’ privacy and personal information. AT&T further pledges that it will
 3   allow Plaintiffs and Class members to control how their data is used. These representations
 4   created an expectation among Plaintiffs and Class members that their real-time location data
 5   would not be sold, that such data would be protected from unauthorized disclosure, and that they
 6   could control how and when such data was accessed. Figure 4, immediately below, is an excerpt
 7   from AT&T’s Privacy Policy.
 8
 9
10
11
12
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21
22                                              Figure 4 246
23          236.    AT&T’s representation that it “use[s] encryption and other security safeguards to
24   protect customer data” is false and misleading.
25
26
27   246
        “Our Privacy Commitments,” AT&T (Feb. 15, 2019), available at
     https://about.att.com/sites/privacy_policy.
28
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 1          237.    As alleged above in Section B, AT&T allowed its agent LocationSmart to store
 2   customers’ personal information—in the form of real-time location data—in a manner that
 3   allowed it to be easily accessed without any customer consent or legal authority by “[a]nyone
 4   with a modicum of knowledge about how Web sites work[.]” 247 AT&T’s statement that it would
 5   use encryption and other security safeguards to protect customers’ data is therefore a material
 6   misrepresentation.
 7          238.    As alleged above in Section E, AT&T failed to establish a consent mechanism
 8   that verified proper authorization before customers’ location data was disclosed to third parties.
 9   AT&T’s statement that it would use encryption and other security safeguards to protect
10   customers’ data is therefore a material misrepresentation.
11          239.    AT&T’s representation that it “will protect [customers’] privacy and keep [their]
12   personal information safe” is false and misleading.
13          240.    As alleged above in Section E, AT&T failed to establish a consent mechanism
14   that verified proper authorization before customers’ location data was disclosed to third parties.
15   Real-time location data is personal information. AT&T’s statement that it would protect
16   customers’ privacy and keep their personal information safe is therefore a material
17   misrepresentation.
18          241.    AT&T’s representation that it “will not sell [customers’] personal information to
19   anyone, for any purpose. Period” is false and misleading.
20          242.    As alleged above in Sections C-E, AT&T routinely sold access to customers’ real-
21   time location data to the Aggregator Defendants and countless additional third parties. Real-time
22   location data is personal information. AT&T’s statement that it would not sell customers’
23   personal information is therefore a material misrepresentation.
24          243.    AT&T also makes numerous false or misleading representations concerning its
25   treatment of customers’ data that qualifies as CPNI under the FCA.
26
27
     247
       Brian Krebs, “Tracking Firm LocationSmart Leaked Location Data for Customers of All
28
     Major U.S. Mobile Carriers Without Consent in Real Time Via Its Web Site,” supra at 42.
                                           – 57 –
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 1           244.     AT&T explicitly and falsely represents to customers in its Privacy Policy that it
 2   does not “sell, trade or share” their CPNI without legal authority:
 3                    We do not sell, trade or share your CPNI with anyone outside of
                      the AT&T family of companies* or our authorized agents, unless
 4                    required by law (example: a court order). 248
 5
             245.     As alleged above in Sections B-E, AT&T routinely provided access to customers’
 6
     CPNI, in the form of real-time location information to additional third parties through the
 7
     Aggregator Defendants. This use was not required by law.
 8
             246.     AT&T also states that it only uses CPNI “internally” and its only disclosed use of
 9
     CPNI is “among the AT&T companies and our agents in order to offer you new or enhanced
10
     services.” 249
11
             247.     Additionally, while the Aggregator Defendants are AT&T’s agents, the use of
12
     customer location data described herein was not for “internal” AT&T purposes, nor was it used
13
     to market AT&T services to Plaintiffs and Class members. AT&T’s statements regarding the sale
14
     and/or use of customer CPNI are therefore material misrepresentations. Its failure to disclose its
15
     sale of access to customers’ CPNI, in the form of location data, is a material omission.
16
             248.     AT&T also falsely represents that it “uses technology and security features, and
17
     strict policy guidelines with ourselves and our agents, to safeguard the privacy of CPNI.” 250
18
             249.     As alleged above in Section B, AT&T’s agent, LocationSmart, did not
19
     appropriately safeguard the privacy of AT&T customers’ CPNI. Instead, it stored customer CPNI
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     in such a way that unauthorized access was easily obtained by “[a]nyone with a modicum of
21
     knowledge about how Web sites work.” 251 AT&T’s statements regarding the technology and
22
     security features it uses to safeguard customer CPNI are therefore material misrepresentations.
23
     248
         Ex. A (privacy policy) at 31. The “AT&T family of companies” is defined “those companies
24   that provide voice, video and broadband-related products and/or services domestically and
25   internationally, including the AT&T local and long distance companies, AT&T Corp., AT&T
     Mobility, DIRECTV, and other subsidiaries or affiliates of AT&T Inc. that provide, design,
26   market, or sell these products and/or services.” Id. at 32.
     249
         Id. at 32.
27   250
         Id.
     251
         Brian Krebs, “Tracking Firm LocationSmart Leaked Location Data for Customers of All
28
     Major U.S. Mobile Carriers Without Consent in Real Time Via Its Web Site,” supra at 42.
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 1          250.    As alleged above in Section C, AT&T and its agent, LocationSmart, also failed to
 2   safeguard customers’ CPNI when they provided access to customer location data to companies
 3   who failed to obtain consent or valid legal authority for such access. AT&T’s statements
 4   regarding the technology and security features it uses to safeguard customer CPNI are therefore
 5   material misrepresentations.
 6          251.    AT&T has admitted that its customers’ location data was used in ways that
 7   violated its policies. A spokesperson for AT&T admitted that the sale of location data to bounty
 8   hunters “would violate [AT&T’s] contract and Privacy Policy.” 252
 9          252.    In response to public reporting about its routine sale of customers’ real-time
10   location data, AT&T made numerous false public statements.
11          253.    AT&T repeatedly asserted that, despite its sale of customers’ real-time location
12   data, it protected Plaintiffs and its customers from unauthorized use of their location data by only
13   releasing such data when presented with customer consent or proper legal authority. 253 As
14   alleged in Section E, this representation was false.
15          254.    Moreover, AT&T repeatedly represented that it would stop selling access to
16   Plaintiffs’ and similarly situated customers’ location data to the Aggregator Defendants and all
17   third parties. These representations were false.
18          255.    In June 2018, AT&T stated that it had taken “prompt steps to protect customer
19   data” and ended Securus’ access to customer location data. 254 In a public statement around the
20   same time, AT&T stated that its “top priority [was] to protect our customers’ information and, to
21   that end, [it would] be ending [its] work with aggregators for these services as soon as practical
22
23
24   252
         Joseph Cox, “I Gave a Bounty Hunter $300. Then He Located Our Phone,” supra at 57.
     253
25       In a June 2018 letter to Senator Wyden’s office, AT&T represented that it “authorized third
     parties to access customer location data… only where a customer consents to such disclosure
26   except in limited cases where a specific provision of law or regulation requires or authorizes
     access.” See Letter from Timothy P. McKone (AT&T Services, Inc.) to U.S. Senator Ron
27   Wyden (June 15, 2018), supra at 51.
     254
         Id.
28
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 1   in a way that preserves important, potential lifesaving services like emergency roadside
 2   assistance.” 255
 3           256.       But on January 10, 2019, AT&T admitted that it had not ended the sale of real-
 4   time location data to location aggregators—despite its statements in June 2018 to the contrary—
 5   but insisted that it was now planning to end all customer location data sales in response to the
 6   January 2019 reporting. 256 But AT&T again hedged, estimating the sales would not conclude
 7   until March 2019. 257
 8           257.       AT&T’s sale of customer location data continued. As Senator Wyden explained,
 9   “[w]e catch them in 2018, they claim that they’re going to stop—not a whole lot of qualifiers,
10   they just say, ‘We’re going to stop’—and then we had Joe Cox and the good folks at
11   Motherboard basically get a bounty hunter, give them a couple hundred bucks, and we saw that
12   at least three of the four major carriers [including AT&T] had basically fed the American
13   consumer a bunch of baloney.” 258 “[T]hey made these promises to me in writing in 2018. Now,
14   they’re making these promises again, and so… permit me to be a little bit skeptical. I’ll believe it
15   when I actually see it. And there is a real pattern now in the technology space where essentially
16   these companies get caught in irresponsible conduct… they apologize… and they pledge it won’t
17   happen again. But of course, it does it happen again. You can almost set your clock by it.” 259
18
     255
         Jon Brodkin, “Verizon and AT&T Will Stop Selling Your Phone’s Location to Data
19   Brokers,” ARS TECHNICA (June 19, 2018), available at https://arstechnica.com/tech-
     policy/2018/06/verizon-and-att-will-stop-selling-your-phones-location-to-data-brokers/; Brian
20   Fung, “Verizon, AT&T, T-Mobile and Sprint Suspend Selling of Customer Location Data After
21   Prison Officials Were Caught Misusing It,” THE WASHINGTON POST (June 19, 2018), available
     at https://www.washingtonpost.com/news/the-switch/wp/2018/06/19/verizon-will-suspend-sales-
22   of-customer-location-data-after-a-prison-phone-company-was-caught-misusing-
     it/?noredirect=on&utm_term=.4f7da64c1108.
23   256
         Joseph Cox, “Google Demanded That T-Mobile, Sprint Not Sell Google Fi Customers'
     Location Data,” MOTHERBOARD (Jan. 11, 2019), available at
24   https://motherboard.vice.com/en_us/article/d3bnyv/google-demanded-tmobile-sprint-to-not-sell-
25   google-fi-customers-location-data.
     257
         Alfred Ng, “AT&T is Cutting Off All Location-Data Sharing Ties in March,” CNET (Jan. 11,
26   2019), available at https://www.cnet.com/news/at-t-is-cutting-off-all-location-data-sharing-ties-
     by-march/.
27   258
         “I Gave a Bounty Hunter $300. Then He Located Our Phone,” Cyber Podcast, supra at 113.
     259
         Id.
28
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 1          258.    Plaintiffs and AT&T customers therefore have no reason to believe AT&T’s
 2   continuous representations that it would or will end the sale of real-time location data are
 3   credible.
 4          259.    Public reporting also shows that AT&T’s representations throughout 2018 and
 5   early 2019—that sales of customers’ location data were isolated incidents—were false, and were
 6   intended to conceal the nature and scope of AT&T’s location data practices.
 7          260.    In response to the latest round of reporting in February and March of 2019,
 8   Senator Wyden stressed the wireless carriers’ misrepresentations about the sale of their
 9   customers’ location data. “Carriers assured customers location tracking abuses were isolated
10   incidents. Now it appears that hundreds of people could track our phones, and they were doing it
11   for years before anyone at the wireless companies took action,” the Senator stated. 260 “That’s
12   more than an oversight—that’s flagrant, wil[l]ful disregard for the safety and security of
13   Americans.” 261
14          261.    AT&T’s misrepresentations and omissions concerning its sale of access to and
15   safeguarding of customers’ real-time location data were material. As alleged in Section G, a
16   reasonable person would attach importance to the privacy of her sensitive location data in
17   determining whether to contract with a wireless cell phone provider.
18          262.    AT&T was obligated to disclose the nature of its location data sales practices, as
19   AT&T had exclusive knowledge of material facts not known or knowable to its customers, AT&T
20   actively concealed these material facts from its customers, and such disclosures were necessary
21   to materially qualify its representations that it did not sell and took measures to protect consumer
22   data and its partial disclosures concerning its use of customers’ CPNI. Further, AT&T was
23   obligated to disclose its practices under the FCA.
24          263.    A reasonable person would be deceived and misled by AT&T’s
25   misrepresentations, which clearly indicated that AT&T would not sell, and would in fact
26
27   260
         Joseph Cox, “Big Telecom Sold Highly Sensitive Customer GPS Data Typically Used for 911
     Calls,” supra at 71.
28   261
          Id.
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 1   safeguard, its customers’ personal information and CPNI. Reasonableness is heightened here,
 2   where AT&T purported to disclose the uses for which it accessed customers’ CPNI but failed to
 3   include therein the location data sales described herein, making its partial representations likely
 4   to mislead or deceive.
 5             264.   AT&T intentionally misled its customers regarding its location data practices in
 6   order to attract customers and evade prosecution for its unlawful acts, while also profiting
 7   unfairly from the sale of customer location data.
 8             265.   AT&T’s representations in its privacy policies that it protected customers’
 9   personal information, when in fact it did not, were false, deceptive, and misleading and therefore
10   a violation of Section 201(b) of the FCA. 262
11             I.     Fraudulent Concealment and Tolling.

12             266.   The applicable statutes of limitations are tolled by virtue of Defendants’ knowing

13   and active concealment of the facts alleged above.

14             267.   Plaintiffs and Class members were ignorant of the information essential to the

15   pursuit of these claims, without any fault or lack of diligence on their own part. The sale of

16   location data, as detailed in this complaint, was not known or knowable to AT&T customers and

17   occurred invisibly to them when using their phones. Due to the surreptitious nature of

18   Defendants’ activities, they were difficult if not impossible for Plaintiffs and other AT&T

19   customers to discover.

20             268.   At the time the action was filed, Defendants were under a duty to disclose the true

21   character, quality, and nature of their activities to Plaintiffs and Class members. Defendants are

22   therefore estopped from relying on any statute of limitations.

23             269.   Defendants’ fraudulent concealment is common to the class.

24             J.     Named Plaintiff Allegations.

25             270.   Plaintiffs Scott, Jewel, and Pontis did not know—and indeed could not have

26    known—and did not consent to AT&T’s sale of their sensitive, real-time location data to the

27    Aggregator Defendants and other third parties.

28   262
           See In the Matter of Terracom, Inc. & Yourtel Am., Inc., 29 F.C.C. Rcd. 13325 ¶ 12 (2014).
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 1             271.   When selecting and maintaining their AT&T wireless accounts, Plaintiffs relied
 2    upon their reasonable expectation—established at least in significant part by AT&T’s own
 3    representations—that their data would be safeguarded by AT&T and would not be sold.
 4             272.   Plaintiffs are highly privacy-conscious individuals who place value in their ability
 5    to select when and how their location data is used and by whom. Had Plaintiffs known about
 6    the real-time location practices complained of herein, they would not have signed up for AT&T
 7    wireless cell phone service or would have paid less for its services.
 8             273.   Plaintiffs were also harmed by the (i) unauthorized use of their AT&T wireless
 9   data, and (ii) the resulting drains on their devices’ battery.
10             274.   Plaintiffs pay for a limited amount of mobile data from AT&T each month. As
11   LocationSmart admits, when a device’s real-time location is accessed, “data or messaging
12   charges may be incurred” by the customer, including Plaintiffs. 263 LocationSmart makes clear
13   that a third-party’s “location request may use data services to deliver data from the phone to the
14   carrier network in response to a location request, which may incur data charges according to the
15   individual’s wireless service plan.” 264 As a result, in addition to having their private locations
16   accessed, Plaintiffs and Class members are not getting the optimal performance of the mobile
17   devices and carrier data packages they purchased, and which are marketed, in part, based on their
18   speed, performance, and battery life.
19             275.   Plaintiffs were also harmed by Defendants’ failure to adopt reasonable security
20   practices to reduce the risk of theft of their personal data. As California courts have recognized,
21   a company’s security practices have economic value. In subscribing to AT&T wireless services,
22   Plaintiffs were informed of and relied upon AT&T’s assertions that it and its partners would
23   safeguard their data. Had Plaintiffs known that AT&T would not properly safeguard their real-
24   time location data, Plaintiffs would not have subscribed to AT&T wireless services, or would
25   have paid less for those services.
26   V.        CLASS ALLEGATIONS
27
     263
           “FAQs,” LocationSmart, supra at 89.
28   264
           Id.
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 1            276.   Plaintiffs bring this class action, pursuant to Rule 23 of the Federal Rules of Civil
 2   Procedure, individually and on behalf of all members of the following class (“Class”):
 3                   All natural persons who were or are AT&T wireless subscribers
                     residing in California between 2011 and the present and whose
 4                   carrier-level location data AT&T permitted or caused to be used or
                     accessed by any third party without proper authorization.
 5
 6            277.   Excluded from the Class are the following individuals: officers and directors of

 7   any Defendant and its parents, subsidiaries, affiliates, and any entity in which any Defendant has

 8   a controlling interest, and all judges assigned to hear any aspect of this litigation, as well as their

 9   immediate family members.

10            278.   Plaintiffs Carolyn Jewel, Katherine Scott, and George Pontis seek to represent the

11   Class.

12            279.   This action readily satisfies the requirements set forth under Federal Rule of Civil

13   Procedure 23:

14            a.     The Class is so numerous that joinder of all members is impracticable. Upon

15   information and belief, Class members number in the millions.

16            b.     The Class is readily ascertainable, as each member is or was a customer of AT&T,

17   and thus can be identified by AT&T’s business records and related documents.

18            c.     There are questions of law or fact common to the Class. These questions include,

19   but are not limited to, the following:

20                       i. Whether the Aggregator Defendants acted as agents of AT&T;

21                      ii. Whether AT&T and its agents’ acts, omissions, and practices complained

22                           of herein amount to a violation of their duty to protect their customers’

23                           CPNI, in violation of the FCA;

24                      iii. Whether the location data described herein is “CPNI” under the FCA;

25                      iv. Whether AT&T properly obtained consent and/or legal authority before

26                           allowing the Aggregator Defendants to access Plaintiffs’ and Class

27                           members’ CPNI;

28
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 1                       v. Whether AT&T and its agents properly obtained consent and/or legal
 2                           authority before allowing third parties to access Plaintiffs’ and Class
 3                           members’ CPNI;
 4                      vi. Whether AT&T provided proper notice before accessing or permitting
 5                           others to access Plaintiffs’ and Class members’ CPNI;
 6                     vii. Whether Defendants’ act and practices complained of herein amount to
 7                           egregious breaches of social norms;
 8                    viii. Whether Defendants acted intentionally in violating Plaintiffs’ and Class
 9                           members’ privacy rights;
10                      ix. Whether AT&T and its agents had a duty to Plaintiffs and Class members
11                           to protect their location data, and if so, whether AT&T and/or its agents
12                           breached that duty;
13                       x. Whether AT&T made material misrepresentations or omissions to
14                           Plaintiffs and Class members;
15                      xi. Whether public injunctive relief should issue;
16                     xii. Whether Defendants fraudulently concealed their location data practices
17                           complained of herein;
18                    xiii. The appropriate amount of damages owed to Plaintiffs and the Class;
19                     xiv. Whether declaratory relief should be granted.
20           d.      Plaintiffs’ claims are typical of the claims of the Class in that Plaintiffs, like all
21   Class members, are AT&T subscribers whose privacy rights were violated and who were
22   subjected to the deceptive conduct alleged herein.
23           e.      Plaintiffs will fairly and adequately protect the interests of the Class. Plaintiffs’
24   interests do not conflict with the interests of the Class members. Furthermore, Plaintiffs have
25   retained competent counsel experienced in class action litigation, generally, and consumer
26   privacy litigation, specifically. Plaintiffs’ counsel will fairly and adequately protect and represent
27   the interests of the Class.
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 1           f.      Questions of law or fact common to the Class—including but not limited to the
 2   common questions outlined above—predominate over any questions affecting only individual
 3   Class members or Plaintiffs.
 4           g.      A class action is superior to other available methods for fairly and efficiently
 5   adjudicating the controversy complained of herein.
 6           h.      Like all Class members, Plaintiffs suffer a substantial risk of repeated injury in
 7   the future. AT&T has made repeated misrepresentations about when it would end the privacy-
 8   violative acts complained of herein, and how. Due to these continuous misrepresentations,
 9   Plaintiffs have no basis to believe that AT&T will cease its practices on a voluntary basis, and
10   seek injunctive relief to protect the privacy rights of themselves and the Class of California
11   consumers. Additionally, AT&T has not made any assurances that Plaintiffs’ and Class members’
12   historical location data will be properly secured.
13           i.      In acting as alleged above, Defendants have acted on ground generally applicable
14   to the entire Class, thereby making relief appropriate with respect to the Class as a whole. The
15   prosecution of separate actions by individual Class members would create the risk of inconsistent
16   or varying adjudications with respect to individual Class members that would establish
17   incompatible standards of conduct for Defendants.
18           j.      Injunctive relief is necessary to prevent further unlawful and unfair conduct by
19   Defendants. Money damages, alone, could not afford adequate and complete relief, and
20   injunctive relief is necessary to restrain Defendants from continuing to or commit its illegal and
21   unfair violations of privacy and to require Defendants to take accurate steps to ensure that any
22   current or historical location data is properly safeguarded and secured.
23    VI.    CLAIMS FOR RELIEF
                                                COUNT I
24
                      Violations of The Communications Act, 47 U.S.C. § 201 et seq.
25                                      (As to Defendant AT&T)

26           280.    Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully

27   set forth in this cause of action.

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 1             281.   AT&T has violated 47 U.S.C. § 222(a) by failing to protect the confidentiality of
 2   Plaintiffs’ and Class members’ CPNI in the form of precise, real-time location data, as detailed
 3   herein. AT&T has also caused and/or permitted the Aggregator Defendants to fail to protect
 4   Plaintiffs’ and Class members’ precise, real-time location data, as detailed herein.
 5             282.   AT&T has violated 47 U.S.C. § 222(c) by using, disclosing, and/or permitting
 6   access to Plaintiffs’ and Class members’ CPNI in the form of precise, real-time location
 7   information to the Aggregator Defendants and other third parties without the notice, consent,
 8   and/or legal authorization required under the FCA, as detailed herein. AT&T also caused and/or
 9   permitted the Aggregator Defendants and other third parties to use, disclose, and/or permit access
10   to Plaintiffs’ and Class members’ CPNI in the form of precise, real-time location information
11   without the notice, consent, and/or legal authorization required under the FCA, as detailed
12   herein.
13             283.   AT&T has violated 47 U.S.C. § 222(f) by using, disclosing, and/or permitting
14   access to Plaintiffs’ and Class members’ geolocation data without the express prior authorization
15   of Plaintiffs and Class members, as detailed herein. AT&T has also caused and/or permitted the
16   Aggregator Defendants to use, disclose, and/or permit access to Plaintiffs’ and Class members’
17   geolocation data without the express prior authorization of Plaintiffs and Class members, in
18   violation of the FCA.
19             284.   Plaintiffs and Class members have suffered injury to their person, property,
20   health, and/or reputation as a consequence of AT&T’s violations of the FCA. Plaintiffs and
21   Class members have been harmed by the unauthorized access to their CPNI and personal
22   information, the use of their wireless data—which they purchased from Defendant AT&T—
23   without their consent, and AT&T’s failure to secure any past location data obtained about the
24   Plaintiffs. Additionally, Plaintiffs and Class members have suffered emotional damages,
25   including emotional distress, mental anguish, and suffering, as a result of Defendants’ acts and
26   practices. Plaintiffs would not have purchased, or would have paid less for, AT&T wireless
27   services had they known their location data could be sold to third parties.
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 1           285.    Plaintiffs, individually and on behalf of the Class, seek the full amount of
 2   damages sustained by Plaintiffs and Class members as a consequence of AT&T’s violations of
 3   the FCA, together with reasonable attorney’s fee, to be fixed by the Court and taxed and
 4   collected as part of the costs of the case. 47 U.S.C. § 206. Plaintiffs and the Class also move for
 5   a writ of injunction or other proper process, mandatory or otherwise, to restrain Defendant AT&T
 6   and its officers, agents, or representatives from further disobedience of the FCC’s orders on the
 7   privacy and protection of CPNI, including but not limited to the FCC’s 2007 CPNI Order and the
 8   NEAD Implementation Order, or to enjoin them obedience to the same. 47 U.S.C. § 401(b).
 9                                            COUNT II
        Violations of The California Unfair Competition Law (“UCL”), California Business &
10                                 Professional Code § 17200 et seq.
                                       (As to Defendant AT&T)
11
             286.    Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully
12
     set forth in this cause of action.
13
             287.    California's Unfair Competition Law (UCL) prohibits any “unlawful, unfair or
14
     fraudulent business act or practice.” Cal. Bus. & Prof. Code § 17200.
15
             288.    AT&T made material misrepresentations and omissions concerning its sale of
16
     access to and safeguarding of customers’ real-time location data. As alleged in Section G, a
17
     reasonable person would attach importance to the privacy of her sensitive location data in
18
     determining whether to contract with a wireless cell phone provider.
19
             289.    AT&T had a duty to disclose the nature of its location data sales practices. AT&T
20
     had exclusive knowledge of material facts not known or knowable to its customers and AT&T
21
     actively concealed these material facts from its customers. Further, additional disclosures were
22
     necessary to materially qualify its representations that it did not sell consumer data, and took
23
     measures to protect that data, and its partial disclosures concerning its use of customers’ CPNI.
24
     AT&T was obligated to disclose—and seek opt-in consent from customers for—its practices, as
25
     required by the FCA. The intensity of the public outcry—including from U.S. Senators—
26
     underscores the materiality of the AT&T’s omissions.
27
28
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 1           290.    A reasonable person would be deceived and misled by AT&T’s
 2   misrepresentations, which indicated that AT&T would not sell, and would in fact safeguard, its
 3   customers’ personal and proprietary information. Reasonableness is heightened here, where
 4   AT&T purported to disclose the uses for which it accessed customers’ CPNI but failed to include
 5   the location data sales described here, making its partial representations likely to mislead or
 6   deceive.
 7           291.    AT&T intentionally misled its customers regarding its location data practices in
 8   order to attract customers and evade prosecution for its unlawful acts, while also profiting
 9   unfairly from the sale of customer location data.
10           292.    Defendants’ actions detailed herein constitute an unlawful business act or practice.
11   As alleged herein, Defendants’ conduct is a violation of the California constitutional right to
12   privacy, the FCA, the CLRA, and constitutes an intrusion upon seclusion.
13           293.    Defendants’ actions detailed herein constitute an unfair business act or practice.
14           294.    Defendants’ conduct lacks reasonable and legitimate justification in that
15   Defendants have benefited from such conduct and practices, while Plaintiffs and Class members
16   have been misled as to the nature and integrity of Defendants’ goods and services and have, in
17   fact, suffered injury regarding the privacy and confidentiality of their location information and
18   the use of their device resources.
19           295.    The gravity of the harm of AT&T’s practices—the violations to consumers’
20   reasonable expectations or privacy, as well as customers’ loss of property and/or money—far
21   outweigh the utility of Defendants’ conduct, which was largely a profit-making scheme.
22   Defendants’ practices were contrary to the letter and the spirit of the FCA and its corresponding
23   regulations, which require cell carriers to only disclose customers’ CPNI upon proper notice,
24   consent, and authorization, and aims to vest carrier customers with control over their data. Due
25   to the surreptitious nature of Defendants’ actions, Plaintiffs and Class members could not have
26   reasonably avoided—and still cannot reasonably avoid—the privacy and economic harms
27   incurred as a result.
28
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 1           296.     As the FCA establishes, it is against public policy to sell wireless customer
 2   location data without the opt-in consent of the customer or verified legal authority. The effects
 3   of AT&T’s conduct are comparable to or the same as a violation of the FCA. Further, it offends
 4   California public policy as reflected in the right to privacy enshrined in the state constitution and
 5   California statutes and common law torts—including intrusion upon seclusion—recognizing the
 6   need to protect consumers’ privacy and to allow consumers to safeguard their privacy interests.
 7           297.     Defendants’ actions detailed herein constitute a fraudulent business act or
 8   practice.
 9           298.     As established herein, Plaintiffs have suffered injury in fact and economic harm as
10   a result of AT&T’s unfair competition. Had AT&T disclosed the true nature and extent of its sale
11   of access to its customers’ real-time location data and the effect such practices had on customers’
12   data plans, batteries, and privacy, Plaintiffs would have been aware and would not have
13   subscribed to or paid as much money for AT&T’s wireless services.
14           299.     Plaintiffs, individually and on behalf of the Class, seek injunctive and declaratory
15   relief for AT&T’s violations of the UCL. Plaintiffs seek public injunctive relief against AT&T’s
16   unfair and unlawful practices in order to protect the public and restore to the parties in interest
17   money or property taken as a result of AT&T’s unfair competition. Plaintiffs and the Class seek
18   a mandatory cessation of AT&T’s practices and proper safeguarding of current and historical
19   location data.
                                                 COUNT III
20
                                          Intrusion Upon Seclusion
21                                          (As to All Defendants)

22           300.     Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully

23   set forth in this cause of action.

24           301.     One who intentionally intrudes, physically or otherwise, upon the solitude or

25   seclusion of another or his private affairs or concerns, is subject to liability to the other for

26   invasion of his privacy, if the intrusion would be highly offensive to a reasonable person.”

27   Restatement (Second) of Torts, § 652B.

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 1          302.    Plaintiffs and Class members have reasonable expectations of privacy in their
 2   mobile devices and their location data.
 3          303.     The reasonableness of Plaintiffs’ and Class members’ expectations of privacy is
 4   supported by AT&T and its agents’—the Aggregator Defendants’—unique position to monitor
 5   Plaintiffs’ and Class members’ behavior through its access to Plaintiffs’ and Class members’
 6   private mobile devices. It is further supported by the surreptitious and non-intuitive nature of
 7   Defendants’ tracking.
 8          304.    Defendants intentionally intruded on and into Plaintiffs’ and Class members’
 9   solitude, seclusion, or private affairs by allowing third parties to access Plaintiffs’ and Class
10   members’ real-time location without proper notice, consent, or authority.
11          305.    These intrusions are highly offensive to a reasonable person. This is evidenced by
12   federal legislation enacted by Congress, state constitutional law, common law, Supreme Court
13   precedent, rules promulgated and enforcement actions undertaken by the FCC, and countless
14   studies, op-eds, and articles decrying surreptitious location tracking.
15          306.    The offensiveness of Defendants’ conduct is heightened by AT&T’s material
16   misrepresentations to Plaintiffs and Class Members concerning the sale, security, and
17   safeguarding of their location data, as alleged above.
18          307.    Plaintiffs and Class members were harmed by the intrusion into their private
19   affairs, as detailed throughout this Complaint.
20          308.    Defendants’ actions and conduct complained of herein were a substantial factor in
21   causing the harm suffered by Plaintiffs and Class members.
22          309.    As a result of Defendants’ actions, Plaintiffs and Class members seek damages
23   and punitive damages in an amount to be determined at trial. Plaintiffs and Class members seek
24   punitive damages because Defendants’ actions—which were malicious, oppressive, and willful—
25   were calculated to injure Plaintiffs and Class members and made in conscious disregard of
26   Plaintiffs’ and Class members’ rights. Punitive damages are warranted to deter the Defendants
27   from engaging in future misconduct.
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 1           310.     Plaintiffs seek restitution for the unjust enrichment obtained by Defendants as a
 2   result of unlawfully collecting Plaintiffs’ location data. These intrusions are highly offensive to a
 3   reasonable person. Further, the extent of the intrusion cannot be fully known, as the nature of
 4   privacy invasion involves sharing Plaintiffs’ and Class members’ personal information with
 5   potentially countless third parties, known and unknown, for undisclosed and potentially
 6   unknowable purposes. Also supporting the highly offensive nature of Defendants’ conduct is the
 7   fact that Defendants’ principal goal was to surreptitiously track Plaintiffs and Class members and
 8   to allow third parties to do the same, all for the sake of profit.
 9           311.     Plaintiffs, individually and on behalf of the Class, seek the full amount of
10   damages sustained by Plaintiffs and Class members as a consequence of AT&T’s intrusion upon
11   their seclusion, as well as declaratory and injunctive relief.
12                                               COUNT IV
                        Violations of the California Constitutional Right to Privacy
13                                         (As to All Defendants)
14           312.     Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully
15   set forth in this cause of action.
16           313.     The California Constitution declares that “All people are by nature free and
17   independent and have inalienable rights. Among these are enjoying and defending life and
18   liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,
19   happiness, and privacy.” Cal. Const. Art. I, § 1.
20           314.     Plaintiffs’ and Class members’ have a reasonable expectation of privacy in their
21   location data.
22           315.     Defendants intentionally intruded on and into Plaintiffs’ and Class members’
23   solitude, seclusion, or private affairs by allowing third parties, including the Aggregator
24   Defendants, to access Plaintiffs’ and Class members’ real-time location without proper consent or
25   authority.
26           316.     The reasonableness of Plaintiffs’ and Class members’ expectations of privacy is
27   supported by AT&T and its agents’—the Aggregator Defendants’—unique position to monitor
28   Plaintiffs’ and Class members’ behavior through its access to Plaintiffs’ and Class members’
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 1   private mobile devices. It is further supported by the surreptitious nature of Defendants’
 2   tracking.
 3           317.    These intrusions are highly offensive to a reasonable person. This is evidenced by
 4   federal legislation enacted by Congress, state constitutional law, common law, Supreme Court
 5   precedent, rules promulgated and enforcement actions undertaken by the FCC, and countless
 6   studies, op-eds, and articles decrying surreptitious location tracking.
 7           318.    The offensiveness of Defendants’ conduct is heightened by AT&T’s material
 8   misrepresentations to Plaintiffs and Class Members concerning the sale, security, and
 9   safeguarding of their location data.
10           319.    Plaintiffs and Class members were harmed by the intrusion into their private
11   affairs as detailed throughout this Complaint.
12           320.    Defendants’ actions and conduct complained of herein were a substantial factor in
13   causing the harm suffered by Plaintiffs and Class members.
14           321.    As a result of Defendants’ actions, Plaintiffs and Class members seek nominal and
15   punitive damages in an amount to be determined at trial. Plaintiffs and Class members seek
16   punitive damages because Defendants’ actions—which were malicious, oppressive, willful—
17   were calculated to injure Plaintiffs and made in conscious disregard of Plaintiffs’ rights. Punitive
18   damages are warranted to deter Defendants from engaging in future misconduct.
19                                                 COUNT V
                                                  (Negligence)
20                                          (As to Defendant AT&T)
21           322.    Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully
22   set forth in this cause of action.
23           323.    AT&T owed a duty to Plaintiffs and Class members—arising from the sensitivity
24   of real-time location data and the foreseeability of harm to Plaintiffs and Class members should
25   AT&T fail to safeguard and protect such data—to exercise reasonable care in safeguarding their
26   sensitive personal information. This duty included, among other things, designing, maintaining,
27   monitoring, and testing AT&T’s and its agents’, partners’, and independent contractors’ systems,
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 1   protocols, and practices to ensure that Plaintiffs’ and Class members’ information was adequately
 2   secured from unauthorized access.
 3          324.      AT&T’s privacy policies acknowledged its duty to adequately protect Plaintiffs’
 4   and Class members’ location data.
 5          325.      AT&T owed a duty to Plaintiffs and Class members to implement a system to
 6   safeguard against and detect unauthorized access to Plaintiffs’ and Class members’ data in a
 7   timely manner.
 8          326.      AT&T owed a duty to disclose the material fact that its data security practices
 9   were inadequate to safeguard Plaintiffs’ and Class members’ location data from unauthorized
10   access and that it was allowing access to Plaintiffs’ and Class members’ location data to the
11   Aggregator Defendants and other third parties, as detailed herein.
12          327.      AT&T had independent duties under the FCA and its corresponding regulations,
13   as detailed above in Section G, which required AT&T to reasonably safeguard Plaintiffs’ and
14   Class members’ location data and promptly notify them of any unauthorized accesses.
15          328.      AT&T had a special relationship with Plaintiffs and Class members due to its
16   status as their telecommunications carrier, which provided an independent duty of care.
17   Plaintiffs’ and other Class members’ willingness to contract with AT&T, and thereby entrust
18   AT&T with their location data, was predicated on the understanding that AT&T would undertake
19   adequate security and consent precautions. Moreover, AT&T had the ability to protect its
20   systems and the location data it stored on them from unauthorized access.
21          329.      AT&T breached its duties by, inter alia: (a) failing to implement and maintain
22   adequate security practices to safeguard Plaintiffs’ and Class members’ location data; (b) failing
23   to detect unauthorized accesses in a timely manner; (c) failing to disclose that AT&T’s data
24   security practices were inadequate to safeguard Plaintiffs’ and Class members’ location data; (d)
25   failing to provide adequate and timely notice of unauthorized access; and (e) failing to disclose
26   its sale of access to Plaintiffs’ and Class members’ data.
27          330.      But for AT&T’s breaches of its duties, Plaintiffs’ and Class members’ location
28   data would not have been accessed by unauthorized individuals.
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 1           331.    Plaintiffs and Class members were foreseeable victims of AT&T’s inadequate data
 2   security practices and consent mechanisms. AT&T knew or should have known that
 3   unauthorized accesses would cause damage to Plaintiffs and Class members.
 4           332.    AT&T’s negligent conduct provided a means for unauthorized individuals to track
 5   Plaintiffs’ and the Class’s locations.
 6           333.    As a result of AT&T’s willful failure to prevent unauthorized accesses, Plaintiffs
 7   and Class members suffered injury, which includes, but is not limited to: (i) past privacy
 8   violations arising from the unauthorized sale of their location data to the Aggregator Defendants
 9   and other third parties, (ii) exposure to a heightened, imminent risk of ongoing harms to their
10   safety, security, privacy rights, and property rights, and (iii) financial harm, including but not
11   limited to unauthorized use of their limited mobile data, for which they pay AT&T.
12           334.    The damages to Plaintiffs and the Class members were a proximate, reasonably
13   foreseeable result of AT&T’s breaches of its duties.
14           335.    Therefore, Plaintiffs and Class members are entitled to damages in an amount to
15   be proven at trial.
16                                           COUNT VI
           Violations of California's Consumers Legal Remedies Act (“CLRA”), California Civil
17                                        Code § 1750 et seq.
                                            (As to AT&T)
18
             336.    Plaintiffs reallege and incorporate all of the preceding paragraphs as though fully
19
     set forth in this cause of action.
20
             337.    AT&T has engaged in unfair methods of competition and unfair or deceptive acts
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     or practices intended to result and which did result in the sale of services to Plaintiffs and other
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     California consumers, as detailed herein.
23
             338.    AT&T’s acts and representations concerning its sale of access to its customers’
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     real-time location data, and the safeguards around that data, is likely to mislead reasonable
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     consumers, including Plaintiffs and members of the Class, as detailed herein.
26
             339.    AT&T has represented that its goods or services have characteristics, benefits,
27
     and/or quantities that they do not have. Cal. Civ. Code § 1770(a)(5). Specifically, as AT&T
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 1   represented that, in purchasing AT&T wireless cell service and using AT&T-compatible phones,
 2   Plaintiffs’ and Class members’ location data would be safeguarded and protected as outlined in
 3   Section H, and AT&T would not sell its customers’ personal information. In actuality, as alleged
 4   in Sections B-E, AT&T’s wireless service did not protect and/or safeguard Plaintiffs’ and Class
 5   members’ location data from unauthorized access, and AT&T did in fact sell customers’ personal
 6   information, as detailed herein.
 7           340.   AT&T’s misrepresentations and omissions concerning its sale of access to and
 8   safeguarding of customers’ real-time location data were material. As alleged in Section G, a
 9   reasonable person would attach importance to the privacy of her sensitive location data in
10   determining whether to contract with a wireless cell phone provider. AT&T was obligated to
11   disclose the nature of its location data sales practices, as AT&T had exclusive knowledge of
12   material facts not known or knowable to its customers, AT&T actively concealed these material
13   facts from its customers, and such disclosures were necessary to materially qualify its
14   representations that it did not sell and took measures to protect consumer data and its partial
15   disclosures concerning its use of customers’ CPNI. Further, AT&T was obligated to disclose its
16   practices under the FCA.
17           341.   Defendants’ actions and conduct complained of herein were a substantial factor in
18   causing the harm suffered by Plaintiffs and Class members.
19           342.   Plaintiffs, individually and on behalf of the Class, seek injunctive relief for
20   AT&T’s violations of the CLRA. Plaintiffs seek public injunctive relief against AT&T’s unfair
21   and unlawful practices in order to protect the public and restore to the parties in interest money
22   or property taken as a result of AT&T’s unfair methods of competition and unfair or deceptive
23   acts or practices. Plaintiffs and the Class seek a mandatory cessation of AT&T’s practices and
24   proper safeguarding of current and historical location data.
25   VII.    PRAYER FOR RELIEF
26           343.   WHEREFORE, Plaintiffs request that judgment be entered against Defendants and
27   that the Court grant the following:
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 1    A.      An order determining that this action may be maintained as a class action under
 2            Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs are proper Class
 3            representatives, Plaintiffs’ attorneys shall be appointed as Class counsel pursuant
 4            to Rule 23(g) of the Federal Rules of Civil Procedure, and that Class notice be
 5            promptly issued;
 6    B.      Judgment against Defendants for Plaintiffs’ and Class members’ asserted causes
 7            of action;
 8    C.      Public injunctive relief requiring cessation of Defendants’ acts and practices
 9            complained of herein pursuant to, inter alia, Cal. Bus. & Prof. Code § 17200, 47
10            U.S.C. § 401(b), and Cal. Civ Code § 1780;
11    D.      Pre- and post-judgment interest, as allowed by law;
12    E.      An award of monetary damages, including punitive damages;
13    F.      Reasonable attorneys’ fees and costs reasonably incurred, including but not
14            limited to attorneys’ fees and costs pursuant to 47 U.S.C.A. § 206; and
15    G.      Any and all other and further relief to which Plaintiffs and the Class may be
16            entitled.
17                               DEMAND FOR JURY TRIAL
18     Plaintiffs demand a trial by jury of all issues so triable.
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     Dated: July 16, 2019                  Respectfully submitted,
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